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         (Ret.) Joel Rayburn




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       Fn. 5         •    National Commission on Terrorist Attacks upon the United States, The
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       Fn. 13        •    Press Release, U.S. Department of the Treasury, “Treasury Targets Al
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                     •    Press Statement, U.S. Department of State, “Addition of Al-Manar to
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       Fn. 19        •    Press Release, U.S. Department of the Treasury, “Treasury Designates
                          Iranian Ministry of Intelligence and Security for Human Rights Abuses
                          and Support for Terrorism” (Feb. 16, 2012)

       Fn. 20        •    Press Release, U.S. Department of the Treasury, “Treasury Designates
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       Fn. 23        •    Press Release, U.S. Department of the Treasury, “Treasury Targets Key
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       Fn. 25        •    United National Security Council Sanctions Summary for ‘ABD AL-
                          RAHMAN KHALAF ‘UBAYD JUDAY’AL-‘ANIZI (updated Feb. 2,
                          2023)

       Fn. 30        •    February 2004 Coalition Provisional Authority English translation of
                          terrorist Musab al Zarqawi letter obtained by United States Government
                          in Iraq

                     •    Defense Intelligence Agency briefing, “Abu Musab al-Zarqawi and Al-
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               Qaida in Iraq”

Fn. 31     •   Letter from Ayman Zawahiri to Abu Musab al-Zarqawi (July 9, 2005)

Fn. 33     •   Letter from Atiyah abd al-Rahman to Zarqawi (late 2005)

Fn. 34     •   Letter from Osama bin Laden to “Karim” (Oct. 18, 2007)

Fn. 42     •   Federal Bureau of Investigation wanted poster for Abd al-Rahman al-
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Fn. 55     •   Press Release, U.S. Department of the Treasury, “Treasury Designates
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Fn. 57     •   Press Release, U.S. Department of the Treasury, “Treasury Designates
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               weapons, and money from Syria to al Qaida in Iraq” (Feb. 28, 2008)
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                        FN 3
U.S. Army TRADOC TRISA Handbook No. 29,
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                                                                                                 G2




                                                                              TRISA Handbook No. 29




    Terrorist, Insurgent & Militant Group Logo
                 Recognition Guide


                                           15 Feb 09



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                                                                                            G2




                                                                                       Purpose



To inform deploying units, trainers and scenario writers of the current logos used by
insurgents, terrorists, paramilitary and other militant groups worldwide.

To assist units in identifying groups by their logos found in videos, magazines,
newspapers, graffiti and other types of media.


This presentation has been developed from unclassified sources and is intended for
use as a training assistance product for Department of the Army organizations
preparing to deploy. This briefing should not be considered a finished intelligence
product, nor used in such a manner.




                 US Army Training And Doctrine Command (TRADOC)
                        Intelligence Support Activity (TRISA)
                            700 Scott Avenue, Building 53
                          Fort Leavenworth, Kansas 66027


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                                                                                      Introduction



   This handbook is designed to specifically provide trainers, leaders and
   soldiers a “hip pocket” reference to identify all the known logos used by
   insurgents, terrorists, paramilitary and other militant groups worldwide.

   Due to the wide variety of spellings and differences in transliteration
   between analysts; only the most common spellings will be used for these
   groups. One alternate spelling may be provides as needed for clarification.

   Key: This is a work in progress and will be updated as often as possible; all
   recommendations, additions and corrections are welcome.




   Points of contact: Please forward all comments, questions or suggestions to -
   -TRISA, Threats, 700 Scott Ave, Bldg 53, FT Leavenworth, KS 66027, 913-684-
   7929/20 (DSN 552-7929/20):
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                                Middle East




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                                           Iraq
                                                                                                G2




                            (AQI & Allies; Salafi-Wahhabi Jihadists)


                                                 Former al-Qaeda in Iraq (AQI)


                                                 Islamic State of Iraq
                                                 (aka. AQI, ISI, Mutaybeen Alliance)



                                                 Former Mujahideen Shura Council (AQI)


                                                 Victorious Army Group
                                                 (Jaish al-Taeifa al-Mansoura , AQI Ally)




                                                 Army of Ahlus Sunnah wal-Jamaah (AQI Ally)



                                                 Shield of Islam Brigade (AQI Ally)


                                                 Ansar al-Islam
                                                 (AI, aka Ansar al-Sunnah Army, AQI Ally;
                                                 Alternate Logo Right)

                                                 Army of Mustafa (AQI Ally)

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                                           Iraq
                                                                                       G2




                            (AQI & Allies; Salafi-Wahhabi Jihadists)




                                                  Hassan al-Basri Brigades (AQI)




                                                  Mujahideen Loyal to ISI (AQI)




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                                             Iraq
                                                                                                                G2




                (Reform and Jihad Front; Sunni, Western, Central and Northern Iraq)


                                                    Reform and Jihad Front




                                                    Mujahideen Army
                                                    (Jaish al-Mujahideen; Main Group; Mainstream Islamist,
                                                    Nationalist)


                                                    Mujahideen Army in Iraq
                                                    (Jaish al-Mujahideen fi al-Iraq; Splinter; Mainstream
                                                    Islamist, Nationalist)


                                                    Islamic Army in Iraq
                                                    (Jaish al-islami fil al-Iraq; Mainstream Islamist, Nationalist)



                                                    Ansar al-Sunnah Sharia Committee (Salafi-Jihadist)




                                                    JAAMI (Mainstream Islamist, Nationalist)




                                                    HAMAS in Iraq (Mainstream Islamist, Nationalist)


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                                              Iraq
                                                                                                               G2




                (Front for Jihad and Change; Sunni, Western, Central and Northern Iraq)
                                                     Front for Jihad and Change


                                                     1920 Revolution Brigades (Mainstream Islamist, Nationalist;
                                                     Newer Logo, Remnant; old logo right)

                                                     Islamic Movement of Iraqi Mujahideen
                                                     (Mainstream Islamist, Nationalist)

                                                     Jaish al-Musilmeen (Mainstream Islamist, Nationalist)


                                                     Jaish al-Tabeen (Mainstream Islamist, Nationalist)


                                                     Saraya Dawa Wal Ribat (Mainstream Islamist, Nationalist)



                                                     Jaish al-Rashideen (Mainstream Islamist, Nationalist)


                                                     Jaish al-Mohammad al-Fatih (Mainstream Islamist,
                                                     Nationalist)


                                                     Jund al-Rahman Brigades (Mainstream Islamist, Nationalist)

                                                     Empowerment Brigades
                                                     (Kataeb al-Tamkeen; Mainstream Islamist, Nationalist)


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                                             Iraq
                                                                                                               G2




                (Other Unaligned Sunni Groups; Western, Central and Northern Iraq)


                                                    Iraq Jihad Union/Factions
                                                    (Asaeb al-Iraq al-Jihadiya; Mainstream Islamist, Nationalist)



                                                    Jaish abu Bakr al-Siddiq (Mainstream Islamist, Nationalist)



                                                    Saad bin Abi Waqqas Brigades
                                                    (Mainstream Islamist, Nationalist)


                                                    Madina and Munawara Brigades
                                                    (Mainstream Islamist, Nationalist)


                                                    Jaish al-Naqshabandia (Sufi)



                                                    Al-Qassas Brigade (Mainstream Islamist, Nationalist)



                                                    Liberation Army of Iraq (Mainstream Islamist, Nationalist)



                                                    Jaish Ibad al-Rahman
                                                    (Army of the Servants; Mainstream Islamist, Nationalist)
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                                             Iraq
                                                                                                                G2




                (Other Unaligned Sunni Groups; Western, Central and Northern Iraq)



                                                    Jaish al-Mujahideen al-Murabiteen
                                                    (Mainstream Islamist, Nationalist)




                                                    PKK (aka. Kongra Gel, Sunni Kurd; Marxist/Hybrid)




                                                    Freedom Hawks Kurdistan (aka. TAK; a PKK Splinter)




                                                    Conquering Army
                                                    (Jaish al-Fatiheen; Mainstream Islamist, Nationalist)




                                                    Jund Millat al-Ibrahim (Mainstream Islamist, Nationalist)




                                                    Jaish Mujahideen of Fallujah
                                                    (Mainstream Islamist, Nationalist)


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                                           Iraq
                                                                                                         G2




                  (Other Unaligned Sunni Groups; Western and Central Iraq)



                                                  Command of Battle in Iraq (Mainstream Islamist, Nationalist)




                                                  Islamic Huda Brigades of Samarrah
                                                  (Mainstream Islamist, Nationalist)




                                                  Mujahideen Brigades of Western Region
                                                  (Mainstream Islamist, Nationalist)




                                                  Imam al-Hussein Brigades (Mainstream Islamist, Nationalist)



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                                           Iraq
                                                                                               G2




                 (Shia Groups; Central and Southern Iraq; Iranian Supported)




                                                  Asaeb ahul al-Haq




                                                  Hezbollah Brigades in Iraq




                                                  Jaish al-Mahdi



                                                  Abu al-Abbas Brigades



                                                  Badr Organization (Remodeled SCIRI Logo)




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                           FN 5
National Commission on Terrorist Attacks upon the
United States, The 9-11 Commission Report (2004),
                  pp. 61, 68, 240
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                                 THE 9/11
                               COMMISSION
                                 REPORT
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                     THE FOUNDATION OF THE NEW TERRORISM                               61

        almost every corner of the Muslim world. His vision mirrored that of Sudan’s
        Islamist leader,Turabi, who convened a series of meetings under the label Pop-
        ular Arab and Islamic Conference around the time of Bin Ladin’s arrival in that
        country. Delegations of violent Islamist extremists came from all the groups
        represented in Bin Ladin’s Islamic Army Shura. Representatives also came from
        organizations such as the Palestine Liberation Organization, Hamas, and
        Hezbollah.51
            Turabi sought to persuade Shiites and Sunnis to put aside their divisions and
        join against the common enemy. In late 1991 or 1992, discussions in Sudan
        between al Qaeda and Iranian operatives led to an informal agreement to coop-
        erate in providing support—even if only training—for actions carried out pri-
        marily against Israel and the United States. Not long afterward, senior al Qaeda
        operatives and trainers traveled to Iran to receive training in explosives. In the
        fall of 1993, another such delegation went to the Bekaa Valley in Lebanon for
        further training in explosives as well as in intelligence and security. Bin Ladin
        reportedly showed particular interest in learning how to use truck bombs such
        as the one that had killed 241 U.S. Marines in Lebanon in 1983.The relation-
        ship between al Qaeda and Iran demonstrated that Sunni-Shia divisions did not
        necessarily pose an insurmountable barrier to cooperation in terrorist opera-
        tions.As will be described in chapter 7, al Qaeda contacts with Iran continued
        in ensuing years.52
            Bin Ladin was also willing to explore possibilities for cooperation with Iraq,
        even though Iraq’s dictator, Saddam Hussein, had never had an Islamist
        agenda—save for his opportunistic pose as a defender of the faithful against
        “Crusaders” during the Gulf War of 1991. Moreover, Bin Ladin had in fact
        been sponsoring anti-Saddam Islamists in Iraqi Kurdistan, and sought to attract
        them into his Islamic army.53
            To protect his own ties with Iraq,Turabi reportedly brokered an agreement
        that Bin Ladin would stop supporting activities against Saddam. Bin Ladin
        apparently honored this pledge, at least for a time, although he continued to
        aid a group of Islamist extremists operating in part of Iraq (Kurdistan) outside
        of Baghdad’s control. In the late 1990s, these extremist groups suffered major
        defeats by Kurdish forces. In 2001, with Bin Ladin’s help they re-formed into
        an organization called Ansar al Islam.There are indications that by then the Iraqi
        regime tolerated and may even have helped Ansar al Islam against the common
        Kurdish enemy.54
            With the Sudanese regime acting as intermediary, Bin Ladin himself met
        with a senior Iraqi intelligence officer in Khartoum in late 1994 or early 1995.
        Bin Ladin is said to have asked for space to establish training camps, as well as
        assistance in procuring weapons, but there is no evidence that Iraq responded
        to this request.55 As described below, the ensuing years saw additional efforts to
        establish connections.
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        68                   THE 9/11 COMMISSION REPORT

        The Embassy Bombings
        As early as December 1993, a team of al Qaeda operatives had begun casing
        targets in Nairobi for future attacks. It was led by Ali Mohamed, a former
        Egyptian army officer who had moved to the United States in the mid-1980s,
        enlisted in the U.S.Army, and became an instructor at Fort Bragg. He had pro-
        vided guidance and training to extremists at the Farouq mosque in Brooklyn,
        including some who were subsequently convicted in the February 1993 attack
        on the World Trade Center. The casing team also included a computer expert
        whose write-ups were reviewed by al Qaeda leaders.83
            The team set up a makeshift laboratory for developing their surveillance
        photographs in an apartment in Nairobi where the various al Qaeda opera-
        tives and leaders based in or traveling to the Kenya cell sometimes met. Ban-
        shiri, al Qaeda’s military committee chief, continued to be the operational
        commander of the cell; but because he was constantly on the move, Bin Ladin
        had dispatched another operative, Khaled al Fawwaz, to serve as the on-site
        manager. The technical surveillance and communications equipment
        employed for these casing missions included state-of-the-art video cameras
        obtained from China and from dealers in Germany. The casing team also
        reconnoitered targets in Djibouti.84
            As early as January 1994, Bin Ladin received the surveillance reports, com-
        plete with diagrams prepared by the team’s computer specialist. He, his top mil-
        itary committee members—Banshiri and his deputy, Abu Hafs al Masri (also
        known as Mohammed Atef)—and a number of other al Qaeda leaders
        reviewed the reports. Agreeing that the U.S. embassy in Nairobi was an easy
        target because a car bomb could be parked close by, they began to form a plan.
        Al Qaeda had begun developing the tactical expertise for such attacks months
        earlier, when some of its operatives—top military committee members and sev-
        eral operatives who were involved with the Kenya cell among them—were sent
        to Hezbollah training camps in Lebanon.85
            The cell in Kenya experienced a series of disruptions that may in part
        account for the relatively long delay before the attack was actually carried out.
        The difficulties Bin Ladin began to encounter in Sudan in 1995, his move to
        Afghanistan in 1996, and the months spent establishing ties with the Taliban
        may also have played a role, as did Banshiri’s accidental drowning.
            In August 1997, the Kenya cell panicked. The London Daily Telegraph
        reported that Madani al Tayyib, formerly head of al Qaeda’s finance committee,
        had turned himself over to the Saudi government.The article said (incorrectly)
        that the Saudis were sharing Tayyib’s information with the U.S. and British
        authorities.86 At almost the same time, cell members learned that U.S. and
        Kenyan agents had searched the Kenya residence of Wadi al Hage, who had
        become the new on-site manager in Nairobi, and that Hage’s telephone was
        being tapped. Hage was a U.S.citizen who had worked with Bin Ladin in Afgha-
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        240                   THE 9/11 COMMISSION REPORT

        his intended address as the Marriott Hotel, New York City, but instead spent
        one night at another New York hotel. He then joined the group of hijackers
        in Paterson, reuniting with Nawaf al Hazmi after more than a year.With two
        months remaining, all 19 hijackers were in the United States and ready to take
        the final steps toward carrying out the attacks.119

        Assistance from Hezbollah and Iran to al Qaeda
        As we mentioned in chapter 2, while in Sudan, senior managers in al Qaeda
        maintained contacts with Iran and the Iranian-supported worldwide terrorist
        organization Hezbollah, which is based mainly in southern Lebanon and
        Beirut.Al Qaeda members received advice and training from Hezbollah.
            Intelligence indicates the persistence of contacts between Iranian security
        officials and senior al Qaeda figures after Bin Ladin’s return to Afghanistan.
        Khallad has said that Iran made a concerted effort to strengthen relations with
        al Qaeda after the October 2000 attack on the USS Cole, but was rebuffed
        because Bin Ladin did not want to alienate his supporters in Saudi Arabia. Khal-
        lad and other detainees have described the willingness of Iranian officials to
        facilitate the travel of al Qaeda members through Iran, on their way to and from
        Afghanistan. For example, Iranian border inspectors would be told not to place
        telltale stamps in the passports of these travelers. Such arrangements were par-
        ticularly beneficial to Saudi members of al Qaeda.120
            Our knowledge of the international travels of the al Qaeda operatives
        selected for the 9/11 operation remains fragmentary. But we now have evi-
        dence suggesting that 8 to 10 of the 14 Saudi “muscle” operatives traveled into
        or out of Iran between October 2000 and February 2001.121
            In October 2000, a senior operative of Hezbollah visited Saudi Arabia to
        coordinate activities there. He also planned to assist individuals in Saudi Ara-
        bia in traveling to Iran during November. A top Hezbollah commander and
        Saudi Hezbollah contacts were involved.122
            Also in October 2000, two future muscle hijackers, Mohand al Shehri and
        Hamza al Ghamdi, flew from Iran to Kuwait. In November, Ahmed al Ghamdi
        apparently flew to Beirut, traveling—perhaps by coincidence—on the same
        flight as a senior Hezbollah operative.Also in November, Salem al Hazmi appar-
        ently flew from Saudi Arabia to Beirut.123
            In mid-November, we believe, three of the future muscle hijackers,Wail al
        Shehri,Waleed al Shehri, and Ahmed al Nami, all of whom had obtained their
        U.S. visas in late October, traveled in a group from Saudi Arabia to Beirut and
        then onward to Iran. An associate of a senior Hezbollah operative was on the
        same flight that took the future hijackers to Iran. Hezbollah officials in Beirut
        and Iran were expecting the arrival of a group during the same time period.
        The travel of this group was important enough to merit the attention of sen-
        ior figures in Hezbollah.124
            Later in November, two future muscle hijackers, Satam al Suqami and Majed
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                       FN 13
Press Release, U.S. Department of the Treasury,
   “Treasury Targets Al Qaida Operatives in
             Iran” (Jan. 16, 2009)
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    U.S. DEPARTMENT OF THE TREASURY

    Treasury Targets Al Qaida Operatives in Iran

    January 16, 2009


    (Archived Content)

    hp-1360



    Washington, D.C. - The U.S. Department of the Treasury today designated four al Qaida
    associates under Executive Order 13224, which targets terrorists and those providing support to
    terrorists or acts of terrorism.

    It is important that Iran give a public accounting of how it is meeting its international
    obligations to constrain al Qaida, said Stuart Levey, Under Secretary for Terrorism and Financial
    Intelligence. Global efforts to financially isolate al Qaida have made it difficult for the core
    leadership to raise funds and sustain itself. Nevertheless, al Qaida remains a very dangerous
    threat, and it is crucial to keep targeting the support lines of al Qaida and its affiliates.

    Under E.O. 13224, any assets held by these individuals under U.S. jurisdiction are frozen and
    U.S. persons are prohibited from engaging in any transactions with the designees.

    Even though individual terrorist attacks are relatively inexpensive to carry out, it costs a great
    deal of money for al Qaida to operate globally. These realities demand that we keep up the
    financial pressure against al Qaida and like-minded terrorist organizations, Levey continued.
    Designations have a far reaching impact, deterring would-be donors from providing financial
    support to terrorism and leaving al Qaida leadership struggling to identify much-needed
    funding resources.

      MUSTAFA HAMID

      AKAs:                Mustafa Muhammad `Atiya Hamid
                           Mustafa Atiya
                           Abu Walid al-Misri
                           Abu al-Walid al-Masri


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                           Abu al-Walid
                           Hashim al-Makki

      POB:                 Alexandria, Egypt

      DOB:                 March 1945

      Nationality:         Egyptian

                           Pakistani


    Mustafa Hamid is a senior al Qaida associate who served as a primary interlocutor between al
    Qaida and the Government of Iran. Before the fall of the Taliban, Hamid served as an instructor
    at a terrorist camp near Jalalabad that trained in the use of explosives. Hamid is the father-in-
    law of senior al Qaida military commander Sayf al-Adl. He formerly served as a correspondent
    for a satellite television station, at the request of senior al Qaida leadership. While living in Iran,
    Hamid was harbored by the Islamic Revolutionary Guard Corps (IRGC), which served as Hamid's
    point of contact for communications between al Qaida and Iran.

    In the mid-1990s, Mustafa Hamid reportedly negotiated a secret relationship between Usama
    Bin Laden and Iran, allowing many al Qaida members safe transit through Iran to Afghanistan.

    In the late 1990s, Mustafa Hamid passed communications between Usama bin Laden and the
    Government of Iran. When tensions were high between Iran and Afghanistan, Mustafa Hamid
    traveled multiple times from Kandahar to Tehran as an intermediary for the Taliban.

    In late 2001, Mustafa Hamid was in Tehran delivering messages from the Taliban to the
    Government of Iran. Hamid also negotiated on behalf of al Qaida in an attempt to relocate al
    Qaida families to Iran. As part of this effort, senior al Qaida member Abu Hafs the Mauritanian
    traveled with Hamid and two IRGC members to Tehran for meetings. Beginning in late 2001, the
    family of a senior al Qaida military commander lived with Mustafa Hamid's family in Iran.
    Separately, in 2002 Mustafa Hamid facilitated contacts between the IRGC and another senior al
    Qaida military commander. In mid-2003, Mustafa Hamid was arrested in Iran along with other
    al Qaida members and associates.

      MUHAMMAD RAB'A AL-SA YID AL-BAHTIYTI

      AKAs:                  Muhammad Mahmud Rabi' al-Zayd al-Bahtiti
                             Muhammad Mahmud al-Bahtiti
https://home.treasury.gov/news/press-releases/hp1360                                                                   2/5
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                             Muhammad Rabi' al-Sa'id al-Hatiti
                             Muhammad Rabi' al-Bahtiti
                             Abu Dujana al-Masri

      DOB:                   1971

      P013                   Al-Sharqiyyah, Egypt

      Nationality:           Egyptian

                             Pakistani


    Muhammad Rab'a al-Sayid al-Bahtiyti is a senior member of the Egyptian Islamic Jihad (EIJ)
    and an al Qaida operative. Bahtiyti has served as a trusted aide to his father- in-law Ayman al-­-
    Zawahiri.

    In the mid-1990s, Bahtiyti served on an al Qaida military committee and provided military
    training that included urban warfare tactics for al Qaida members. Bahtiyti drafted training
    manuals for al Qaida as well as a book on security that was used as a template for al Qaida's
    surveillance operations.

    In 1995, Bahtiyti reportedly was involved in the bombing of the Egyptian Embassy in Islamabad,
    Pakistan.

    After September 11, 2001, Ayman al-Zawahiri instructed Bahtiyti to take al-Zawahiri's family to
    Iran. Bahtiyti reportedly traveled to Iran with al-Zawahiri's daughters, where he was
    subsequently responsible for them. In January 2003, while working from Iran, Bahtiyti arranged
    housing on behalf of al Qaida. Bahtiyti reportedly was arrested by Iranian authorities in mid-
    2003.

      ALI SALEH HUSAIN

      AKAs:                  Abu Dahhak
                             'Ali Salih Husayn al-Dhahak al-Tabuki
                             Ali Saleh Husain al-Tabuki
                             'Ali Salih Husayn 'Ula'lah
                             'Ali Salih Husayn
                             'Ala'lah Dhahhak al-Tabuki
                             Abu Dhahak al-Yemeni


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      DOB:                   Circa 1970

      POB:                   al-Hudaydah, Yemen

      Nationality:           Yemeni

      Height                 5'9

    Ali Saleh Husain is a senior al Qaida associate who had close relations with Usama bin Laden.
    Husain was responsible for logistics pertaining to al Qaida-affiliated fighters and acted as an
    interlocutor between al Qaida and its Chechnya-based affiliates. Husain coordinated with
    Usama bin Laden on the training of fighters in terrorist camps in Afghanistan who were
    preparing to travel to Chechnya.

    Circa early 2001, Husain reportedly arranged a meeting that included a senior al Qaida
    operations chief to discuss operations planned against Israel. In April 2002, al Qaida senior
    official Abu Zubaydah indicated that the responsibility for operational meetings for attacks
    against Israel had been handed over to Husain. Husain also was reportedly Abu Zubaydah's
    secondary point of contact for obtaining fraudulent passports.

    In 2001 after the fall of the Taliban, Husain facilitated the move of al Qaida-associated fighters,
    including an al Qaida military commander, from Afghanistan to Iran. After leaving Afghanistan,
    Husain was responsible for smuggling al Qaida members and associates via networks in
    Zahedan, Iran. In early 2002, Husain sent $20,000 to a senior al Qaida lieutenant who had
    requested financial assistance. Husain was detained by the Government of Iran in early 2003.

      SA'AD BIN LADEN

      AKAs:                    Sad Bin Laden
                               Sa'ad Muhammad Awad Abud
                               Muhammad Awad
                               Muhammad 'Awad Adbud
                               Sa'ad Muhammad Baabood
                               Abdul Rahman Al-Kahtane
                               Bin Muhammad Awad Abbud

      DOB:                     1982



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      POB:                     Saudi Arabia

      Nationality:             Saudi Araibian

      Passport No.             520951 (Sudan)

                               530951 (Sudan)

    Sa'ad bin Laden, one of Usama bin Laden's sons, has been involved in al Qaida activities. For
    example, in late 2001, Sa'ad facilitated the travel of Usama bin Laden's family members from
    Afghanistan to Iran. Sa'ad made key decisions for al Qaida and was part of a small group of al
    Qaeda members that was involved in managing the terrorist organization from Iran. He was
    arrested by Iranian authorities in early 2003.

    As of September 2008, it was possible that Sa'ad bin Laden was no longer in Iranian custody.

                                                                 -30-




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                       FN 18
  Press Statement, U.S. Department of State,
“Foreign Terrorist Organization: Designation of
      Jama'at al-Tawhid wa'al-Jihad and
           Aliases” (Oct. 15, 2004)
9/18/23, 2:53 PM             Case 1:20-cv-03859-JEB        Document
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                                                                                                   al-Tawhid wa'al-Jihad  112
                                                                                                                                                                                    Other State Depar




  Press Statement
  Richard Boucher, Spokesman
  Washington, DC
  October 15, 2004



  Foreign Terrorist Organization: Designation of Jama'at al-Tawhid wa'al-Jihad and Aliases
  As part of ongoing U.S. efforts against terrorism, the Secretary of State today announced his designation of the terrorist group Jama'at al-Tawhid wa'al-Jihad, along with its aliases The
  Monotheism and Jihad Group, the al-Zarqawi network, and al-Tawhid, as a Foreign Terrorist Organization under the Immigration and Nationality Act and as a Specially Designated Global
  Terrorist under Executive Order 13224. Taken together, these designations make it illegal under U.S. law for persons in the United States or subject to U.S. jurisdiction knowingly to provide
  material support to the group; they block all property and interest in property of the organization and its members; and they provide a basis for the United States to deny visas to
  representatives and members of the organization. The Secretary of State took this action in consultation with the Attorney General, the Secretary of the Treasury, and the Department of
  Homeland Security.

  The Jama'at al-Tawhid wa'al-Jihad is a radical Islamist terrorist organization led by Abu Mus'ab al-Zarqawi, who has been designated and listed for international sanctions by the UN 1267
  Committee for his ties to al-Qaida. The group's main goal is to undermine the establishment of a free and pluralistic Iraqi state by fomenting civil war in Iraq. Via Internet jihadi websites
  containing video broadcasts, this organization has publicly admitted responsibility for the brutal abductions and videotaped executions this year of seven civilians: Americans Nicholas Berg,
  Eugene Armstrong, and Jack Hensley; Briton Kenneth Bigley; South Korean Kim Sun-Il; Bulgarian Georgi Lazov; and Turk Murat Yuce. The group's operatives have also been responsible for
  the assassinations of the former Iraqi Governing Council President, the governor of Mosul, and U.S. diplomat Laurence Foley in Amman, Jordan in 2002. The Zarqawi network specifically
  targets those Iraqis attempting to rebuild their country and provide for its security. Hundreds of innocent Iraqis have died and many hundreds more have been injured during the last year in
  the group's targeted bombings throughout Iraq - in Mosul, Baqouba, Falujah, Ramadi, Najaf, and Baghdad. The group was also responsible for the U.N. headquarters bombing in Baghdad
  which killed U.N. Special Representative of the Secretary General for Iraq, Sergio Vieira de Mello.

  The U.S. list of designated Foreign Terrorist Organizations now numbers 39.

  Because this group and its leader, al-Zarqawi, have links to al-Qaida, the U.S. and others, including the U.K. and Iraq, yesterday asked that the U.N. 1267 Sanctions Committee include
  Jama'at al-Tawhid wa'al-Jihad and its aliases on its consolidated list of individuals and entities subject to international sanctions pursuant to U.N. Security Council Resolution 1267 and
  subsequent resolutions, most recently Resolution 1526. Once names are listed, all U.N. Member States are obligated to impose sanctions -- asset freezes, travel bans and arms embargoes
  -- and prohibit their nationals and persons in their territories from making available to the group's members any funds or other resources.

  We hope these designations will continue to draw the attention of governments across the world and will encourage those governments to take action, as we have, to isolate these terrorist
  organizations, to choke off their sources of financial support, and to prevent their members' movement across international borders.

  2004/1110

  Released on October 15, 2004




Published by the U.S. Department of State Website at http://www.state.gov maintained by the Bureau of Public Affairs.




https://2001-2009.state.gov/r/pa/prs/ps/2004/37130.htm                                                                                                                                             1/1
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                       FN 18
  Press Statement, U.S. Department of State,
“Addition of Al-Manar to the Terrorist Exclusion
            List” (Dec. 28, 2004)
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 Press Statement
 Adam Ereli, Deputy Spokesman
 Washington, DC
 December 28, 2004



 Addition of Al-Manar to the Terrorist Exclusion List
 On December 17, 2004, the Federal Register published information on the following: the addition of Al-Manar to the Terrorist Exclusion List, the new designation of the Libyan Islamic
 Fighting Group as a Foreign Terrorist Organization (FTO), and the amended FTO designation of the Zarqawi-led organization known as Jam’at al Tawhid wa’al-Jihad to reflect new aliases of
 the organization. Designations of Foreign Terrorist Organizations and additions of groups to the Terrorist Exclusion List, part of ongoing U.S. efforts against terrorism, enhance our ability to
 isolate and take appropriate action against terrorist organizations.

 On December 14, 2004, the global satellite television operation, Al-Manar, was designated under section 212(a)(3)(B)(vi)(II) of the Immigration and Nationality Act, placing it on the Terrorist
 Exclusion List. As a result of this designation, aliens are inadmissible to the United States if they engage in a range of statutorily specified activities involving Al-Manar. The Deputy Secretary
 of State made the decision to designate Al-Manar in consultation with the Attorney General and the Secretary of Homeland Security.

 The FTO designation of the Libyan Islamic Fighting Group and amended designation of the Zarqawi-led FTO Jam’at al Tawhid wa’al-Jihad to reflect new aliases will enhance the United
 States’ ability to take action against these organizations in accordance with U.S. law. U.S. law makes it illegal for persons in the United States, or persons subject to U.S. jurisdiction, to
 provide material support to FTOs. It permits the U.S. Government to require U.S. financial institutions to block assets held by them, and makes aliens inadmissible to the United States if they
 engage in a range of statutorily specified activities involving the organization. After a thorough review of these groups’ terrorist activities, and from the basis of law and from the basis of
 evidence, the Deputy Secretary of State made the decision to make these designations in consultation with the Attorney General and the Secretary of the Treasury.

 On December 8, 2004, the Deputy Secretary of State designated the Libyan Islamic Fighting Group (LIFG) as a Foreign Terrorist Organization under section 219 of the Immigration and
 Nationality Act, as amended. The Libyan Islamic Fighting Group (LIFG) emerged in 1995 among Libyans who had fought against Soviet forces in Afghanistan. Originally organized to
 overthrow the Qadhafi regime and install a Shari'a-based government, the LIFG has subsequently embraced the global jihadist agenda of al-Qaida. Its leadership has had a close
 association with al-Qaida. Some senior members of LIFG are believed to be or have belonged to al-Qaida’s senior command structure, and now are part of the support network of the
 broader international jihadist movement. LIFG members have been directly or indirectly implicated in a number of terrorist activities, particularly in North Africa. LIFG actively targets Libya
 and is believed to have been involved in planning and facilitating the May 2003 bombings in Casablanca, Morocco. The LIFG constitutes the most serious threat to U.S. interests and
 personnel in Libya.

 The Zarqawi-led FTO, Jam’at al-Tawhid wa’al Jihad, was initially designated as an FTO on October 15, 2004. Two days later on October 17, the group’s leader Abu-Mus’ab al-Zarqawi
 pledged his group’s allegiance to al-Qaida and its leader, Usama bin Laden. Following this pledge, Zarqawi’s group issued statements on October 20 on jihadist websites claiming
 responsibility for recent anti-U.S. attacks in Iraq. In these statements, the group used a new name, TANZIM QA’IDAT AL-JIHAD FI BILAD AL-RAFIDAYN, which is understood to mean the
 base of organized jihadist operations in Iraq. Under the leadership of Zarqawi, the organization continued to engage in terrorist activities and claimed responsibility for the October 24th
 massacre of 49 unarmed, out-of-uniform Iraqi soldiers and the October 26th kidnapping and beheading of Japanese citizen Shosei Koda. We have accordingly amended the FTO designation
 to add the new alias and other related aliases.

 2004/1406




Published by the U.S. Department of State Website at http://www.state.gov maintained by the Bureau of Public Affairs.




https://2001-2009.state.gov/r/pa/prs/ps/2004/40081.htm#:~:text=On December 17%2C 2004%2C the,organization known as Jam'at                                                                                  1/1
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                       FN 19
Press Release, U.S. Department of the Treasury,
   “Treasury Designates Iranian Ministry of
  Intelligence and Security for Human Rights
 Abuses and Support for Terrorism” (Feb. 16,
                             2012)
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    U.S. DEPARTMENT OF THE TREASURY

    Treasury Designates Iranian Ministry of Intellligence and
    Security for Human Rights Abuses and Support for Terrorism

    February 16, 2012


    (Archived Content)


             Ministry Targeted for its Role in Facilitating Abuses by the Iranian and Syrian Regimes


    WASHINGTON – The U.S. Department of the Treasury today announced the designation of the
    Iranian Ministry of Intelligence and Security (MOIS), Iran's primary intelligence organization, for
    its support to terrorist groups as well as its central role in perpetrating human rights abuses
    against the citizens of Iran and its role in supporting the Syrian regime as it continues to commit
    human rights abuses against the people of Syria.


    Today’s actions were taken in consultation with the Department of State and other agencies, as
    applicable, pursuant to Executive Orders (E.O.) 13224, 13553 and 13572, which target terrorists
    and their supporters and those responsible for human rights abuses in Iran and Syria,
    respectively. Any property or property interests in the United States or in the possession or
    control of U.S. persons in which the MOIS has an interest are blocked, and U.S. persons are
    prohibited from engaging in transactions with it. As a result of today’s action all members of the
    MOIS are also ineligible to receive visas from the Department of State.


    “Today we have designated the MOIS for abusing the basic human rights of Iranian citizens and
    exporting its vicious practices to support the Syrian regime’s abhorrent crackdown on its own
    population,” said Under Secretary for Terrorism and Financial Intelligence David S. Cohen. “In
    addition, we are designating the MOIS for its support to terrorist groups, including al Qa’ida, al
    Qa’ida in Iraq, Hizballah and HAMAS, again exposing the extent of Iran’s sponsorship of
    terrorism as a matter of Iranian state policy.”




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    The United States first exposed Iran’s assistance to the Syrian government in its violent
    crackdown against the Syrian population when, on April 29, 2011, President Obama identified
    Iran´s Islamic Revolutionary Guard Corps - Qods Force (IRGC-QF) as subject to sanctions
    pursuant to E.O. 13572. The IRGC-QF serves as a conduit for Iranian material support to the
    Syrian General Intelligence Directorate (GID), the overarching civilian intelligence service in
    Syria. On May 18, 2011, Treasury imposed sanctions on two IRGC-QF senior officers, Qasem
    Soleimani, the Commander of the IRGC-QF, and Mohsen Chizari, a senior IRGC-QF officer who
    serves as the Commander of IRGC-QF Operations and Training. A little over a month later, on
    June 29, 2011, Treasury designated Iran’s Law Enforcement Forces (LEF), which is commonly
    referred to as Iran’s national police. Like the IRGC-QF, the LEF provided material support to the
    Syrian GID; it also dispatched personnel to Damascus in April to assist the Syrian government in
    its efforts to suppress the Syrian people. Ismail Ahmadi Moghadam, the chief of Iran’s LEF, and
    Ahmad-Reza Radan, the deputy chief of Iran’s LEF were also designated at that time. In April
    2011, Radan traveled to Damascus, where he met with Syrian security services and provided
    expertise to aid in the Syrian government's crackdown on the Syrian people.


    Executive Order 13224 (Terrorism)


    The U.S. Department of the Treasury today designated MOIS pursuant to E.O. 13224 for its
    support to Hizballah, HAMAS and al Qa’ida.


    MOIS provides financial, material, or technological support for, or financial or other services to
    Hizballah, a terrorist organization designated under E.O. 13224. MOIS has participated in
    multiple joint projects with Hizballah in computer hacking.


    MOIS provides financial, material, or technological support for, or financial or other services to
    HAMAS, a terrorist group also designated under E.O. 13224.


    MOIS has facilitated the movement of al Qa’ida operatives in Iran and provided them with
    documents, identification cards, and passports.


    MOIS also provided money and weapons to al Qa’ida in Iraq (AQI), a terrorist group designated
    under E.O. 13224, and negotiated prisoner releases of AQI operatives.



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    Executive Order 13572 (Syria Human Rights Abuses)


    The U.S. Department of the Treasury today also designated MOIS pursuant to E.O. 13572 for
    providing support to the Syrian regime’s violent repression of dissent in Syria. MOIS, like the
    IRGC-QF, and the Iranian LEF, has provided financial, material, or technological support to the
    Syrian GID, whose property and interests in property are blocked pursuant to E.O. 13572. MOIS
    has provided substantial technical assistance to the Syrian GID for the purpose of assisting the
    Syrian regime in its violent crackdown on protesters.


    Executive Order 13553 (Iran Human Rights Abuses)



    The U.S. Departments of the Treasury and State also today imposed sanctions against MOIS
    pursuant to E.O. 13553 for being responsible for or complicit in the commission of serious
    human rights abuses against the Iranian people since June 12, 2009. MOIS agents are
    responsible for the beatings, sexual abuse, prolonged interrogations, and coerced confessions
    of prisoners, particularly political prisoners, which occurred in Ward 209 of Evin Prison, which is
    controlled by MOIS, following the June 2009 elections in Iran.


    More generally, MOIS is known to have used abhorrent methods of interrogation such as mock
    executions and forms of sexual violence. MOIS agents have also arrested and detained
    members of the Bahai religion without charges.


    Identifying Information:


    Entity: IRANIAN MINISTRY OF INTELLIGENCE AND SECURITY


    AKA: MOIS


    AKA: VEZARAT-E ETTELA'AT VA AMNIAT-E KESHVAR


    AKA: VEVAK




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    Address: Headquarters located in Tehran, Iran; bounded roughly by Sanati Street on the west,
    30th Street on the south, and Iraqi Street on the east.
    Address: Ministry of Intelligence, Second Negarestan Street, Pasdaran Avenue, Tehran, Iran.


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                      FN 20
     Press Release, U.S. Department of the
        Treasury, “Treasury Designates
        Individuals, Entity Fueling Iraqi
           Insurgency” (Jan. 9, 2008)
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    U.S. DEPARTMENT OF THE TREASURY

    Treasury Designates Individuals, Entity Fueling Iraqi Insurgency

    January 9, 2008


    (Archived Content)



    The U.S. Department of the Treasury today designated four individuals and one entity under
    Executive Order 13438 for threatening the peace and stability of Iraq and the Government of
    Iraq. The individuals and entity designated today commit, direct, support, or pose a significant
    risk of committing acts of violence against Iraqi citizens, Iraqi government officials, and
    Coalition Forces.

    Iran and Syria are fueling violence and destruction in Iraq. Iran trains, funds, and provides
    weapons to violent Shia extremist groups, while Syria provides safe-haven to Sunni insurgents
    and financiers, said Stuart Levey, Under Secretary for Terrorism and Financial Intelligence.
    Today's action brings to light the lethal actions of these individuals, and we call on the
    international community to stand with us in isolating them from the global economy.

    By committing, directing, and supporting violent attacks in Iraq, these extremists threaten
    peace and stability and undermine efforts to promote economic reconstruction in Iraq.

    Today's action follows President Bush's issuance of E.O. 13438 on July 17, 2007, which targets
    insurgent and militia groups and their support. Designations under E.O. 13438 are administered
    by Treasury's Office of Foreign Assets Control and prohibit all transactions between the
    designees and any U.S. person and freeze any assets the designees may have under U.S.
    jurisdiction.

    Identifying Information

    AHMED FORUZANDEH
    AKAs: Ahmad Foruzandeh
    Ahmad Fruzandah
    Ahmad Fayruzi
    Jafari

https://home.treasury.gov/news/press-releases/hp759                                                                                   1/7
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    Ahmad Foroozandeh
    Abu Shahab
    Abu Ahmad Ishab
    Title: Brigadier General, Commanding Officer of the Iranian Islamic Revolutionary Guard
    Corps-Qods Force (IRGC-QF) Ramazan Corps
    Former Title: Deputy Commander of the Ramazan Headquarters and Chief of Staff of the
    Iraq Crisis Staff
    POB: Kermanshah, Iran
    DOB: Circa 1958-1963
    Alt. DOB: 1957
    Alt. DOB: Circa 1955
    Education: Husayni Political University
    Location: Qods Force Central Headquarters in the former U.S. Embassy Compound in
    Tehran, Iran

    Iran-based Ahmed Foruzandeh, a Brigadier General in the IRGC-QF, leads terrorist operations
    against Coalition Forces and Iraqi Security Forces, and directs assassinations of Iraqi figures.
    The Qods Force, designated under E.O. 13224 for providing material support to terrorists, is the
    regime's primary mechanism for cultivating and supporting terrorists and Islamic militants to
    advance Iranian national interests. The Qods Force provides training, weapons, and financial
    support to surrogate groups and terrorist organizations including: Lebanese Hizballah;
    Palestinian terrorists; Iraqi Shia militant groups; the Taliban and Islamic militants in
    Afghanistan, the Balkans and elsewhere. The Qods Force plays a central – yet often hidden –
    role in security interests, including Iraq and Afghanistan. Qods Force officers often use various
    cover mechanisms – including diplomatic, non-governmental organization, humanitarian, and
    media – for conducting operational activity, belying their military affiliation.

    As of mid-February 2007, Foruzandeh ordered his Iranian intelligence officers to continue
    targeting Shia and Sunnis to further sectarian violence within Iraq. Foruzandeh is also
    responsible for planning training courses in Iran for Iraqi militias, including Sayyid al-Shuhada
    and Iraqi Hizballah, to increase their ability to combat Coalition Forces. The training includes
    courses in guerilla warfare, light arms, marksmanship, planting improvised explosive devices
    (IEDs), and firing anti-aircraft missiles.

    Foruzandeh and his subordinates provide financial and material support for acts of violence
    against Coalition Forces and Iraqi Security Forces. In early-April 2007, Foruzandeh provided

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    $25,000 USD to help fund military operations against Coalition Forces in Salah Ad Din Province,
    Iraq. Foruzandeh provided the funds to two men claiming to be members of a Sunni terrorist
    organization in Iraq, promising the men additional funds if they would deliver videos of attacks
    against Coalition Forces. Foruzandeh also offered to deliver weapons to the border, if the two
    men could transport the weapons into Iraq in order to fight Coalition Forces. Previously, in
    August 2004, Foruzandeh drove explosives and associated materials into Iraq from Iran for use
    in suicide bombings.

    In addition to providing financial and material support for attacks against Coalition Forces,
    Foruzandeh supplied a certain Shia militia group with a target for execution. On July 25, 2005,
    Foruzandeh held a meeting with representatives of Iraqi Hizballah and other Shia militia
    groups, calling upon them to continue liquidating all enemies of the Islamic revolution,
    including security and intelligence personnel, tribal chiefs, and religious clerics.

    ABU MUSTAFA AL-SHEIBANI
    AKAs: Hameid Thajeil Wareij Al-Attabi
    Hamid Al-Shaybani
    Abu Mustafa Al-Shebani
    Abu Mustafa Al-Shaybani
    Mustafa Al-Sheibani
    Hamid Thajil
    Hamid Thajeel Al-Sheibani
    DOB: Circa 1960
    Alt. DOB: 1959
    POB: Nasiriyah, Iraq
    Citizenship: Iranian
    All Citizenship: Iraqi
    Location: Tehran, Iran

    Iran-based Abu Mustafa Al-Sheibani leads a network of Shia extremists that commit and provide
    logistical and material support for acts of violence that threaten the peace and stability of Iraq
    and the Government of Iraq. Al-Sheibani's Iran-sponsored network was created to affect the
    Iraqi political process in Iran's favor. The network's first objective is to fight U.S. forces, attacking
    convoys and killing soldiers. Its second objective is to eliminate Iraqi politicians opposed to
    Iran's influence. Elements of the IRGC were also sending funds and weapons to Al-Sheibani's
    network.

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    Al-Sheibani's network – consisting of several hundred members – conducted IED attacks against
    Americans in the Baghdad region. As of March 2007, Al-Sheibani, known to transport Katyusha
    rockets to be used for attacks against Coalition Forces, launched rockets against Americans and
    made videos of the attacks to get money from Iran. As of April 2007, a member of Al-Sheibani's
    network supervised the transport of money and explosives from Iran for eventual arrival in
    Baghdad. In early-May 2007, Al-Sheibani's network assisted members of a Shia militia group by
    transporting them to Iran for training and providing them with weapons for their activities in
    Iraq.

    Additionally, Al-Sheibani commands several pro-Iranian insurgent groups in southern Iraq that
    work to destabilize Iraq and sabotage Coalition efforts. These groups use a variety of weapons,
    to include mortars, Katyusha rockets, and anti-tank landmines. Ordered by IRGC headquarters
    to create disorder, the task of these groups is to attack bases of Coalition Forces in southern
    Iraq, particularly British forces.

    In an effort to cause instability in Iraq, Al-Sheibani and his network targeted Iraqi government
    officials. Al-Sheibani conducted attacks against the Iraqi Police Chief of Najaf, Iraq, and the Iraqi
    Deputy Governor in Najaf, Iraq. Al-Sheibani's network also killed Muhammad al-Friji, a colonel in
    the Iraqi Ministry of Interior.

    ISMA'IL HAFIZ AL LAMI (ABU DURA)
    AKAs: Abu Dura
    Abu Diri
    Abu Dar'a
    Abu Haydar
    Ismail Hafeth Izajawi
    Ismail al-Lami
    Isma'il Hafith Abid `Ali al-Lami
    Ismai'il Hafuz al-Zargawi
    DOB: Circa 1957
    POB: Baghdad, Iraq
    Citizenship: Iraq
    Location 1: Iran
    Location 2: Sadr City, Baghdad, Iraq

    As of 2007, Iran-based Shia extremist Abu Dura and his group were actively targeting Iraqi
    government officials, Sunni community leaders, and anyone who cooperated with Coalition
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    Forces. In a brazen daylight attack, Abu Dura and his group kidnapped employees from the
    Ministry of Higher Education in November 2006. Sunni hostages were then singled out, tortured,
    and killed by men under Abu Dura's control. Abu Dura was also responsible for the July 2006,
    kidnapping of Taysir Najih Awad al-Mashadani, a Sunni member of the Iraqi Parliament. He also
    planned to kidnap Sunni Iraqi politician Adnan al-Dulaymi and planned a mortar attack against
    the residence of Iraqi Vice President Tariq al-Hashimi.

    Abu Dura also directs acts of violence against Iraqi civilians. Abu Dura uses members of a
    Baghdad-based Shia militia to gather information on potential targets. Abu Dura then uses this
    information to plan and coordinate potential kidnapping and assassination operations. In July
    2006, men under Abu Dura's control routinely executed Iraqi citizens in Sadr City, Baghdad.

    In addition to directing acts of violence against Iraqi government officials and citizens, Abu Dura
    supported acts of violence against U.S. and Coalition Forces. In July 2006, men under Abu
    Dura's control attacked a U.S. forces patrol in Sadr City, Baghdad. The purpose of the attack was
    to kidnap U.S. soldiers and use them as a tool to make U.S. forces leave Iraq. After fleeing to Iran
    to avoid capture by Coalition Forces, Abu Dura continued to direct attacks in Iraq against
    Coalition Forces and Sunnis in Iraq during early-2007. Abu Dura maintained contact with proxies
    in Iraq who carried out those attacks.

    MISH'AN RAKIN THAMIN AL-JABURI
    AKAs Mushan al-Jaburi
    Meshaan al-Juburi
    Mishan Jibouri
    Mishan al-Jabouri
    Mashaan Aljabouri
    Mashaan Jabouri
    Mash'an el-Jburi
    Mish'an al-Juburi
    Mush'an al-Jiburi
    Mashan Juburi
    Mishan al-Jabburi
    Meshan Thamin al Jabouri
    Mishan Riqardh Damin al Jabouri
    Mishaan al-Jubouri
    Mashaan Rakadh Dhamin Al Jabbury

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    Misham Al Jaburi
    Mish'an Rakkad Damin al-Jabburi
    Nationality: Iraq
    Citizenship: Syrian
    DOB: 1 August 1957
    POB: Ninwa, Iraq
    Passport number: 01374026
    Location 1: Latakia, Syria
    Location 2: Damascus, Syria

    Syria-based Mish'an Al-Jaburi provides financial, material, and technical support for acts of
    violence that threaten the peace and stability of Iraq. In February 2006, Al-Jaburi was expelled
    from the New Iraqi Parliament and fled Iraq to Syria for embezzling government funds and
    supporting Iraq-based insurgents. Al-Jaburi also owns Syria-based Al-Zawra, a television station
    that considers itself to be part of the fight against the U.S. In one instance, Al-Jaburi agreed to
    broadcast open-coded messages through patriotic songs to the Sunni terrorist group Islamic
    Army of Iraq. Additionally, Al-Jaburi utilized his nephew, Hasib Ismail Dandan, to provide
    storage sites for weapons, funds, and footage transiting in and out of Iraq.

    Despite being publicly critical of al-Qa'ida in Iraq (AQI), Al-Jaburi is reported to have provided
    financial support and services to AQI. Al-Jaburi worked with an AQI jihadist umbrella
    organization, the Mujahadin Shura Council, to fund Sunni extremist operations. Additionally, Al-
    Jaburi's television station broadcast recruitment videos for AQI's Abu Bakr Al-Sadiq Al Salafi
    Battalion.

    AL-ZAWRA TELEVISION STATION
    AKAs Alzawraa TV
    Al-Zawraa TV
    El-Zawra satellite station
    Zorah Channel
    Al Zoura TV station
    Al-Zawara satellite television station
    Al Zawrah Television
    Zawrah TV station
    Al Zaoura network
    Location: Syria

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    Syria-based Al-Zawra television station is owned and controlled by Mish'an Al-Jaburi. Publicly
    stating that he owns Al-Zawra and that no one outside his family controlled its content, Al-
    Jaburi privately agreed to broadcast open-coded messages through patriotic songs to the Sunni
    terrorist group the Islamic Army of Iraq. Al-Zawra, which has received financing from Al-Qa'ida,
    is also used as a venue to broadcast graphic videos of attacks against U.S. forces. Additionally,
    Al-Zawra broadcast recruitment videos for AQI's Abu Bakr Al-Sadiq Al-Salafi Battalion. In
    November 2006, Al-Zawra's Iraq office was closed by the Government of Iraq for airing programs
    inciting violence.

    In addition to the reasons for which Al-Zawra is being designated, it is a pro-insurgency station
    that broadcasts graphic videos of insurgent attacks against U.S. forces, advocates violence
    against Shia, and calls upon Iraqis to unite and take up arms against Coalition Forces.

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Press Release, U.S. Department of the Treasury,
 “Treasury Targets Key Al-Qa‟ida Funding and
Support Network Using Iran as a Critical Transit
            Point” (July 28, 2011)
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    U.S. DEPARTMENT OF THE TREASURY

    Treasury Targets Key Al-Qa’ida Funding and Support Network
    Using Iran as a Critical Transit Point

    July 28, 2011


    (Archived Content)

    WASHINGTON – The U.S. Department of the Treasury today announced the designation of six
    members of an al-Qa’ida network headed by Ezedin Abdel Aziz Khalil, a prominent Iran-based
    al-Qa’ida facilitator, operating under an agreement between al-Qa’ida and the Iranian
    government. Today’s action, taken pursuant to Executive Order (E.O.) 13224, demonstrates that
    Iran is a critical transit point for funding to support al-Qa’ida’s activities in Afghanistan and
    Pakistan. This network serves as the core pipeline through which al-Qa’ida moves money,
    facilitators and operatives from across the Middle East to South Asia, including to Atiyah Abd al-
    Rahman, a key al-Qa’ida leader based in Pakistan, also designated today.


    “Iran is the leading state sponsor of terrorism in the world today. By exposing Iran’s secret deal
    with al-Qa’ida allowing it to funnel funds and operatives through its territory, we are
    illuminating yet anotheraspect of Iran’s unmatched support for terrorism,” said Under Secretary
    for Terrorism and Financial Intelligence David S. Cohen. “Today’s action also seeks to disrupt
    this key network and deny al-Qa’ida’s senior leadership much-needed support.”


    As a result of today’s action, U.S. persons are prohibited from engaging in commercial or
    financial transactions with the designees, and any assets they may hold under U.S. jurisdiction
    are frozen. Treasury designated the following individuals today:


    Ezedin Abdel Aziz Khalil
    Khalil (a.k.a. Yasin al-Suri)is an Iran-based senior al-Qa’ida facilitator currently living and
    operating in Iran under an agreement between al-Qa’ida and the Iranian government.
    Iranian authorities maintain a relationship with Khalil and have permitted him to operate within
    Iran’s borders since 2005. Khalil moves money and recruits from across the Middle East into
    Iran, then on to Pakistan for the benefit of al-Qa’ida senior leaders, including Atiyah Abd al-

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    Rahman. Khalil has collected funding from various donors and fundraisers throughout the Gulf
    and is responsible for moving significant amounts of money via Iran for onward passage to al-
    Qa’ida’s leadership in Afghanistan and Iraq. He has also facilitated the travel of extremist
    recruits for al-Qa’ida from the Gulf to Pakistan and Afghanistan via Iran. Khalil requires each
    operative to deliver $10,000 to al-Qa’ida in Pakistan.


    As al-Qa’ida’s representative in Iran, Khalil works with the Iranian government to arrange
    releases of al-Qa’ida personnel from Iranian prisons. When al-Qa’ida operatives are released,
    the Iranian government transfers them to Khalil, who then facilitates their travel to Pakistan.


    Atiyah Abd al-Rahman
    Al-Rahman is al-Qa’ida’s overall commander in Pakistan’s tribal areas and as of late 2010, the
    leader of al-Qa’ida in North and South Waziristan, Pakistan. Rahman was previously appointed
    by Usama bin Laden to serve as al-Qa’ida’s emissary in Iran, a position which allowed him to
    travel in and out of Iran with the permission of Iranian officials.


    Umid Muhammadi
    Muhammadi is an al-Qa’ida facilitator and key supporter of al-Qa’ida in Iraq (AQI). Muhammadi
    has petitioned Iranian officials on al-Qa’ida’s behalf to release operatives detained in Iran.
    Muhammadi has been involved in planning multiple attacks in Iraq and has trained extremists
    in the use of explosives. He has also received training in Afghanistan on the use of rockets and
    chemicals.


    Salim Hasan Khalifa Rashid al-Kuwari
    Al-Kuwari provides financial and logistical support to al-Qa’ida, primarily through al­-Qa’ida
    facilitators in Iran. Based in Qatar, Kuwari has provided hundreds of thousands of dollars in
    financial support to al-Qa’ida and has provided funding for al-Qa’ida operations, as well as to
    secure the release of al-Qa’ida detainees in Iran and elsewhere. He has also facilitated travel for
    extremist recruits on behalf of senior al-Qa’ida facilitators based in Iran.


    Abdallah Ghanim Mafuz Muslim al-Khawar
    Al-Khawar has worked with Kuwari to deliver money, messages and other material support to
    al-Qa’ida elements in Iran. Like Kuwari, Khawar is based in Qatar and has helped to facilitate
    travel for extremists interested in traveling to Afghanistan for jihad.

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    ‘Ali Hasan ‘Ali al-’Ajmi
    Al-’Ajmi is a Kuwait-based associate of Khalil who provides financial and facilitation support to
    al-Qa’ida, AQI and the Taliban. ‘Ajmi has collected money from individuals in Gulf countries and
    provided these funds to AQI facilitators as well as to the Taliban. He has also supported al-
    Qa’ida by facilitating travel for individuals associated with the group so that they could take
    part in fighting in Afghanistan.


    Identifying Information:
    Individual:          Ezedin Abdel Aziz Khalil
    AKA:              Izz al-Din Abd al-Farid Khalil
    AKA:               Yasin al-Suri
    AKA:               Yaseen al-Suri
    AKA:               Zayn al-Abadin
    DOB:             1982
    POB:                al-Qamishli, Syria


    Individual:           Umid Muhammadi
    AKA:               Omid Muhammadi
    AKA:            ‘Umid ‘Abd al-Majid Muhammad ‘Aziz Muhammadi
    AKA:            Umid al-Kurdi
    AKA:             ‘Amid al-Kurdi
    AKA:              Abu Sulayman al-Kurdi
    AKA:            Arkan Mohammed Hussein Darwesh
    AKA:            Hamza al-Kurdi
    AKA:               Shahin Rawansari
    DOB:               Circa 1967


    Individual:           Atiyah Abd al-Rahman
    AKA:            ‘Atiyah ‘Abd al-Rahman al-Libi
    AKA:            Jamal Ibrahim Muhammad al-Shitaywi
    AKA:              Jamal al-Shtiwi
    AKA:              Jamal al-Shitiwi
    AKA:              Jamal al-Shatiwi

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    AKA:              Shaykh Mahmud al-Libi
    DOB:             1969
    Alt. DOB:           1965 – 1967
    Alt. DOB:          1957 – 1960
    POB:               Misrata, Libya


    Individual:           Salim Hasan Khalifah Rashid al-Kuwari
    AKA:              Salim Hassan Khalifa Rashid Al Kuwari
    AKA:               Salim Hasan Khalifa Al Kawari
    AKA:            Salim Al-Kowari
    AKA:              Salem Al-Kuwari
    DOB:               Circa 1977
    Alt. DOB:          Circa 1978


    Individual:          Abdallah Ghanim Mahfuz Muslim Khawar
    AKA:             Abdullah Ghalib Mahfuz Muslim al-Khawar
    AKA:             Abdullah Khowar
    AKA:           Abdullah Al-Khowar
    AKA:             Abdullah Ghanem Mahfouz Muslim Khawar
    DOB:              August 17, 1981
    Passport:          28163402296


    Individual:           Ali Hasan ‘Ali al-Ajmi
    AKA:               ‘Ali Abu Hasan al-Yami
    AKA:               ‘Ali bin Hasan
    AKA:               ‘Ali Hasan al-’Ajami
    AKA:              ‘Ali Hassan ‘Ali al `Ajmi
    AKA:               Abu al-Hassan
    AKA:              Abu al-Hassan al-Ajmi
    AKA:               Hassan al-Yami
    AKA:               Husayn al-Yami
    DOB:               January 14, 1979
    Passport:          002981367 (Kuwait)



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                      FN 25
 United National Security Council Sanctions
Summary for „ABD AL-RAHMAN KHALAF
  „UBAYD JUDAY‟AL-„ANIZI (updated
                      Feb. 2, 2023)
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1. Home
2. „ABD AL-RAHMAN KHALAF „UBAYD JUDAY‟ AL-„ANIZI


   ‘ABD AL-RAHMAN KHALAF ‘UBAYD JUDAY’ AL-
   ‘ANIZI
   In accordance with paragraph 13 of resolution 1822 (2008) and subsequent related resolutions, the ISIL
   (Da'esh) and Al-Qaida Sanctions Committee makes accessible a narrative summary of reasons for the
   listing for individuals, groups, undertakings and entities included in the ISIL (Da'esh) and Al-Qaida
   Sanctions List.
   QDi.335
   „Abd al-Rahman Khalaf „Ubayd Juday‟ al-„Anizi
   Date on which the narrative summary became available on the Committee's website:
   23 September 2014
   Date(s) on which the narrative summary was updated:
   2 February 2023
   Reason for listing:
   „Abd al-Rahman Khalaf „Ubayd Juday‟ al-„Anizi was listed on 23 September 2014 pursuant to paragraphs
   2 and 4 of resolution 2161 (2014) as being associated with Al-Qaida for “participating in the financing,
   planning, facilitating, preparing, or perpetrating of acts or activities by, in conjunction with, under the name
   of, on behalf of, or in support of” and “otherwise supporting acts or activities of” Al-Qaida (QDe.004), Al-
   Nusrah Front for the People of the Levant (QDe.137) and Islamic State in Iraq and the Levant, listed as
   Al-Qaida in Iraq (AQI) (QDe.115).
   Additional information:
   Since at least 2008, „Abd al-Rahman Khalaf „Ubayd Juday‟ al-„Anizi worked with a senior Al-Qaida in Iraq
   (AQI) (QDe.115) facilitator and AQI financial official to transfer funds from Kuwait to Syria. He also worked
   with an AQI facilitator to pay for the travel of foreign terrorist fighters moving from Syria to Iraq. Al-„Anizi
   worked to smuggle several foreign terrorist fighters from Kuwait to Afghanistan, likely to join Al-Qaida
   (QDe.004) and was involved in facilitation activities with Iran-based Al-Qaida facilitators, including the
   movement of foreign terrorist fighters to Afghanistan via Iran.
   Since 2013, Al-„Anizi has been in Syria. He is a well-known facilitator for Al-Nusrah Front for the People of
   the Levant (QDe.137) and helps in sending operatives and logistics to Syria from the Gulf region.
   Since early 2014, he has been providing a wide range of support to the Islamic State in Iraq and the
   Levant, listed as AQI, in Syria and Iraq.
   On 30 July 2015, a sentence of imprisonment for 15 years was issued against him by Kuwait in absentia.
   Related listed individuals and entities:
   Al-Qaida (QDe.004), listed on 6 October 2001
   Al-Qaida in Iraq (QDe.115), listed on 18 October 2004
   Al-Nusrah Front for the People of the Levant (QDe.137), listed on 14 May 2014
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                        FN 30
   February 2004 Coalition Provisional Authority
  English translation of terrorist Musab al Zarqawi
letter obtained by United States Government in Iraq
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  Zarqawi Letter
  February 2004 Coalition Provisional Authority English translation of terrorist Musab al Zarqawi letter obtained by United States Government in Iraq

  [Begin text]

                                                                                  In the name of God, the Merciful, the Compassionate,
                                                                    From �����to the proudest of persons and leaders in the age of the servants,
                                                                        ��To the men on the mountain tops, to the hawks of glory, to the lions
                                                                         of [the] Shara [Mountains], to the two honorable brothers�����..,
                                                                                Peace and the mercy and blessings of God be upon you.



  Even if our bodies are far apart, the distance between our hearts is close.

  Our solace is in the saying of the Imam Malik. I hope that both of us are well. I ask God the Most High, the Generous, [to have] this letter reach you clothed in the garments of health and savoring the winds
  of victory and triumph �. Amen.

  I send you an account that is appropriate to [your] position and that removes the veil and lifts the curtain from the good and bad [that are] hidden in the arena of Iraq.

  As you know, God favored the [Islamic] nation with jihad on His behalf in the land of Mesopotamia. It is known to you that the arena here is not like the rest. It has positive elements not found in others, and it
  also has negative elements not found in others. Among the greatest positive elements of this arena is that it is jihad in the Arab heartland. It is a stone's throw from the lands of the two Holy Precincts and
  the al-Aqsa [Mosque]. We know from God's religion that the true, decisive battle between infidelity and Islam is in this land, i.e., in [Greater] Syria and its surroundings. Therefore, we must spare no effort
  and strive urgently to establish a foothold in this land. Perhaps God may cause something to happen thereafter. The current situation, o courageous shaykhs, makes it necessary for us to examine this
  matter deeply, starting from our true Law and the reality in which we live�.

  Here is the current situation as I, with my limited vision, see it. I ask God to forgive my prattle and lapses. I say, having sought help from God, that the Americans, as you know well, entered Iraq on a
  contractual basis and to create the State of Greater Israel from the Nile to the Euphrates and that this Zionized American Administration believes that accelerating the creation of the State of [Greater] Israel
  will accelerate the emergence of the Messiah. It came to Iraq with all its people, pride, and haughtiness toward God and his Prophet. It thought that the matter would be somewhat easy. Even if there were
  to be difficulties, it would be easy. But it collided with a completely different reality. The operations of the brother mujahidin began from the first moment, which mixed things up somewhat. Then, the pace of
  operations quickened. This was in the Sunni Triangle, if this is the right name for it. This forced the Americans to conclude a deal with the Shi`a, the most evil of mankind. The deal was concluded on [the
  basis that] the Shi`a would get two-thirds of the booty for having stood in the ranks of the Crusaders against the mujahidin.

  First: The Makeup [of Iraq]

  In general, Iraq is a political mosaic, an ethnic mixture, and scattered confessional and sectarian disparities that only a strong central authority and a overpowering ruler have been able to lead, beginning
  with Ziyad Ibn Abihi (tr. note: 7th century A.D.) and ending with Saddam. The future faces difficult choices. It is a land of great hardships and difficulties for everyone, whether he is serious or not�..

  As for the details:

  1. The Kurds

  In their two Barazani and Talabani halves, these have given the bargain of their hands and the fruit of their hearts to the Americans. They have opened their land to the Jews and become their rear base and
  a Trojan horse for their plans. They (the Jews) infiltrate through their lands, drape themselves in their banners, and take them as a bridge over which to cross for financial control and economic hegemony,
  as well as for the espionage base for which they have built a large structure the length and breadth of that land. In general, Islam's voice has died out among them -- the Kurds -- and the glimmer of religion
  has weakened in their homes. The Iraqi Da`wa has intoxicated them, and the good people among them, few as they are, are oppressed and fear that birds will carry them away.

  3 [sic]. The Shi`a

  [They are] the insurmountable obstacle, the lurking snake, the crafty and malicious scorpion, the spying enemy, and the penetrating venom. We here are entering a battle on two levels. One, evident and
  open, is with an attacking enemy and patent infidelity. [Another is] a difficult, fierce battle with a crafty enemy who wears the garb of a friend, manifests agreement, and calls for comradeship, but harbors ill
  will and twists up peaks and crests (?). Theirs is the legacy of the Batini bands that traversed the history of Islam and left scars on its face that time cannot erase. The unhurried observer and inquiring
  onlooker will realize that Shi`ism is the looming danger and the true challenge. "They are the enemy. Beware of them. Fight them. By God, they lie." History's message is validated by the testimony of the
  current situation, which informs most clearly that Shi`ism is a religion that has nothing in common with Islam except in the way that Jews have something in common with Christians under the banner of the
  People of the Book. From patent polytheism, worshipping at graves, and circumambulating shrines, to calling the Companions [of the Prophet] infidels and insulting the mothers of the believers and the elite
  of this [Islamic] nation, [they] arrive at distorting the Qur'an as a product of logic to defame those who know it well, in addition to speaking of the infallibility of the [Islamic] nation, the centrality of believing in
  them, affirming that revelation came down to them, and other forms of infidelity and manifestations of atheism with which their authorized books and original sources -- which they continue to print, distribute,
  and publish -- overflow. The dreamers who think that a Shi`i can forget [his] historical legacy and [his] old black hatred of the Nawasib [those who hate the Prophet's lineage], as they fancifully call them, are
  like someone who calls on the Christians to renounce the idea of the crucifixion of the Messiah. Would a sensible person do this? These are a people who added to their infidelity and augmented their
  atheism with political cunning and a feverish effort to seize upon the crisis of governance and the balance of power in the state, whose features they are trying to draw and whose new lines they are trying to
  establish through their political banners and organizations in cooperation with their hidden allies the Americans.

  These [have been] a sect of treachery and betrayal throughout history and throughout the ages. It is a creed that aims to combat the Sunnis. When the repulsive Ba`thi regime fell, the slogan of the Shi`a
  was "Revenge, revenge, from Tikrit to al-Anbar." This shows the extent of their hidden rancor toward the Sunnis. However, their religious and political `ulama' have been able to control the affairs of their
  sect, so as not to have the battle between them and the Sunnis become an open sectarian war, because they know that they will not succeed in this way. They know that, if a sectarian war was to take
  place, many in the [Islamic] nation would rise to defend the Sunnis in Iraq. Since their religion is one of dissimulation, they maliciously and cunningly proceeded another way. They began by taking control of
  the institutions of the state and their security, military, and economic branches. As you, may God preserve you, know, the basic components of any country are security and the economy. They are deeply
  embedded inside these institutions and branches. I give an example that brings the matter home: the Badr Brigade, which is the military wing of the Supreme Council of the Islamic Revolution, has shed its
  Shi`a garb and put on the garb of the police and army in its place. They have placed cadres in these institutions, and, in the name of preserving the homeland and the citizen, have begun to settle their
  scores with the Sunnis. The American army has begun to disappear from some cities, and its presence is rare. An Iraqi army has begun to take its place, and this is the real problem that we face, since our
  combat against the Americans is something easy. The enemy is apparent, his back is exposed, and he does not know the land or the current situation of the mujahidin because his intelligence information is
  weak. We know for certain that these Crusader forces will disappear tomorrow or the day after. He who looks at the current situation [will] see the enemy's haste to constitute the army and the police, which
  have begun to carry out the missions assigned to them. This enemy, made up of the Shi`a filled out with Sunni agents, is the real danger that we face, for it is [made up of] our fellow countrymen, who know
  us inside and out. They are more cunning than their Crusader masters, and they have begun, as I have said, to try to take control of the security situation in Iraq. They have liquidated many Sunnis and
  many of their Ba`th Party enemies and others beholden to the Sunnis in an organized, studied way. They began by killing many mujahid brothers, passing to the liquidation of scientists, thinkers, doctors,
  engineers, and others. I believe, and God knows best, that the worst will not come to pass until most of the American army is in the rear lines and the secret Shi`i army and its military brigades are fighting
  as its proxy. They are infiltrating like snakes to reign over the army and police apparatus, which is the strike force and iron fist in our Third World, and to take complete control over the economy like their
  tutors the Jews. As the days pass, their hopes are growing that they will establish a Shi`i state stretching from Iran through Iraq, Syria, and Lebanon and ending in the Cardboard Kingdom of the Gulf. The
  Badr Brigade entered carrying the slogan of revenge against Tikrit and al-Anbar, but it shed its garb and then put on the emblem[s] of the army and police to oppress the Sunnis and kill the people of Islam in
  the name of law and order, all under cover of smooth talk. The noxiousness of falsehood rides the horse of dissimulation. Their Ghunusi religion (one based on special personal enlightenment) veils itself
  with lies and covers itself with hypocrisy, exploiting the naivete and good-heartedness of many Sunnis. We do not know when our [Islamic] nation will begin to learn from historical experience and build on
  the testimony of the empty eras. The Shi`i Safavid state was an insurmountable obstacle in the path of Islam. Indeed it was a dagger that stabbed Islam and its people in the back. One of the Orientalists
  spoke truth when he said that had the Safavid state not existed we in Europe would today be reading the Qur'an just as the Algerian Berber does. Yes, the hosts of the Ottoman state stopped at the gates of
  Vienna, and those fortifications almost collapsed before them [to permit] Islam to spread under the auspices of the sword of glory and jihad all across Europe. But these armies were forced to return and

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  withdraw to the rear because the army of the Safavid state had occupied Baghdad, demolished its mosques, killed its people, and captured its women and wealth. The armies returned to defend the
  sanctuaries and people of Islam. Fierce fighting raged for about two centuries and did not end until the strength and reach of the Islamic state had waned and the [Islamic] nation had been put to sleep, then
  to wake up to the drums of the invading Westerner.

  The Qur'an has told us that the machinations of the hypocrites, the deceit of the fifth column, and the cunning of those of our fellow countrymen whose tongues speak honeyed words but whose hearts are
  those of devils in the bodies of men - these are where the disease lies, these are the secret of our distress, these are the rat of the dike. "They are the enemy. Beware of them." Shaykh al-Islam Ibn
  Taymiyya spoke with truth and honesty when he said - after he mentioned their (Shi`a) thinking toward the people of Islam - "For this reason, with their malice and cunning, they help the infidels against the
  Muslim mass[es], and they are one of the greatest reasons for the eruption of Genghis Khan, the king of the infidels, into the lands of Islam, for the arrival of Hulagu in the country of Iraq, for the taking of
  Aleppo and the pillage of al-Salihiyya, and for other things. For this reason, they pillaged the troops of the Muslims when they passed among them going to Egypt the first time. And for this reason, they
  commit highway robbery against the Muslims. And for this reason, help for the Tartars and Franks appeared from among them against the Muslims. Deep sadness over the victory of Islam appeared, since
  they were friends with the Jews, Franks, and polytheists against the Muslims. These are among the customs of the hypocrites�. Their hearts are full of vinegar and ire like no others with regard to Muslims
  old and young, godly and ungodly.

  Their greatest [act of] worship is to curse the Muslim friends of God from first to last. These are the people most anxious to divide the Muslims. Among their greatest principles are leveling charges of
  infidelity and damning and cursing the elite of those who have ruled matters, like the orthodox caliphs and the `ulama' of the Muslims, because of their belief that anyone who does not believe in the infallible
  imam, who is not present, does not believe in God and his Prophet, may God bless him and grant him salvation�.

  The Shi`a love the Tartars and their state because through it they achieved a glory that they did not achieve through the Muslims' state.�. They were among the greatest helpers [of the Tartars] as they
  seized the countries of Islam, killing Muslims and capturing their women. The story of Ibn al-`Alqami and his like with the Caliph and their case in Aleppo is famous. All the people know it. If the Muslims
  defeat the Christians and polytheists, this causes distress among the Shi`a. And if the polytheists and Christians beat the Muslims, this occasions a holiday and joy among the Shi`a." - al-Fatawa, part 28,
  pages 478 to 527

  Praise be to God, it is as if veils had been lifted from the hidden for him (Ibn Taymiyya) and he looked at what was before him and then spoke clearly on the basis of observation and information. Our imams
  have traced a clear path and lifted the veil from these people. Imam al-Bukhari says, not in the house have I prayed behind a Shi`i or behind Jews or Christians. They are not to be greeted. They are not to
  be congratulated on holidays. They are not to be taken in marriage. They cannot bear witness. The animals they slaughter are not to be eaten. - Khalq Af`al al-'Ibad, page 125

  Imam Ahmad says - he was asked about who had cursed Abu Bakr, `Umar, and `A'isha, may God be pleased with them - "I do not see him within Islam." Imam Malik says, "He who curses the Companions
  of the Prophet, may God bless him and grant him salvation, has no share or part in Islam." - Kitab al-Sunna of al-Khallal, number 779

  Al-Faryabi says, "I do not see the Shi`a except as atheists." -- al-Lalika'i, part 8, page 1545

  And when Ibn Hazm brought evidence and proofs against the Jews and Christians for distorting the Torah and the Gospel, they found no retort except to say that the Shi`a among them spoke of distortions
  to the Qur'an. He said, God's mercy! When they speak of the claim of the Shi`a that substitution has occurred, the Shi`a are not Muslims. They are a sect that follows the path of the Jews and Christians in
  lying and infidelity." - al-Fasl, part 2, page 78

  Ibn Taymiyya said, "With this, it becomes clear that they are more evil than the sectarians and more deserving of being fought than the Kharijis. This is the reason for the general opinion that circulates that
  the Shi`a are people of heresy. The populace spreads around that Shi`i is the opposite of Sunni because they show resistance to the sunna of the Prophet of God, may God bless him and grant him
  salvation, and to the Laws of Islam." - from Sa'ir Ahl al-Ahwa', part 28, page 482

  And he said, "If the sunna and ijma` are in agreement that -- if [the spirit of] the Muslim attacker could [only] come out by killing, then he should be killed, even if the property that he took was [but] a fraction
  of a dinar --how could it be with regard to fighting those who deviate from the Laws of Islam and fight God and His Prophet, may God bless him and grant him salvation? - part 4, page 251

  And with all this, let the people of Islam know that we are not the first to have begun going down this road. We are not the first to have brandished the sword. These people (the Shi`a) are continuing to kill
  those who call for Islam and the mujahidin of the community, stabbing them in the back under cover of the silence and complicity of the whole world, and, regretfully, even of the symbolic figures beholden to
  the Sunnis.

  Moreover, they are a bone in the throats of the mujahidin and a dagger in [the backs of] their leading personalities. People without exception know that most of the mujahidin who have fallen in war have
  done so at the hands of these people. The wounds are still spreading, and they are working the daggers of hatred and cunning in them assiduously, Night or day, they do not let up.


  2 [sic]. As regards the Sunnis

  They are more wretched than orphans at the tables of the depraved. They have lost the[ir] leader and wandered in the desert of artlessness and negligence divided and fragmented, having lost the unifying
  head who gathered the scattered [pieces] and prevented the egg from shattering. They also are [various] kinds.

  1. The Masses

  These masses are the silent majority, absent even though present. "The hooligans following everyone and his brother hungered. They did not seek enlightenment from the light of science and did not take
  refuge in a safe corner." These, even if in general they hate the Americans, wish them to vanish and to have their black cloud dissolve. But, despite that, they look forward to a sunny tomorrow, a prosperous
  future, a carefree life, comfort, and favor. They look ahead to that day and are thus easy prey for cunning information [media] and political enticement whose hiss rings out�. In any event, they are people of
  Iraq.

  2. The Shaykhs and `Ulama'

  These are mostly Sufis doomed to perdition. Their part of religion is an anniversary in which they sing and dance to the chanting of a camel driver, with a fatty banquet at the end. In truth, these are narcotic
  opiate[s] and deceitful guides for an [Islamic] nation that is feeling its way on a pitch-black night. As for the spirit of jihad and the jurisprudence of martyrdom and disavowal of the infidel, they are innocent of
  all of that, just as the wolf was innocent of the blood of Joseph, may peace be upon him. With all the horrors and bad circumstances, not one of them ever speaks about jihad or calls for sacrifice or self-
  sacrifice. For these, three is too much, not to say four. They are not suited to this.

  3. The [Muslim] Brothers

  As you have observed, they make a profession of trading in the blood of martyrs and build their counterfeit glory on the skulls of the faithful. They have debased the horse, put aside arms, said "no jihad" �
  and lied.

  Their whole effort is to extend political control and seize the posts of Sunni representation in the government cake whose creation has been decided, while taking care in secret to get control of the mujahidin
  groups through financial support for two purposes. The first is for propaganda and media work abroad to attract money and sympathy, exactly as they did during the events in Syria, and the second is to
  control the situation and dissolve these groups when the party ends and the gifts are distributed. They are now intent on creating a Sunni shura body to speak in the name of the Sunnis. It is their habit to
  grab the stick in the middle and change as the political climate changes. Their religion is mercurial. They have no firm principles, and they do not start from enduring legal bases. God is the one from whom
  we have sought help.

  D (sic). The Mujahidin

  These are the quintessence of the Sunnis and the good sap of this country. In general, they belong to the Sunni doctrine and naturally to the Salafi creed. The Salafis splintered only as the bend curved, and
  the people of the [distant] regions fell behind the caravan. In general, these mujahidin distinguish themselves by the following:

  1. Most of them have little expertise or experience, especially in organized collective work. Doubtlessly, they are the result of a repressive regime that militarized the country, spread dismay, propagated fear
  and dread, and destroyed confidence among the people. For this reason, most of the groups are working in isolation, with no political horizon, farsightedness, or preparation to inherit the land. Yes, the idea
  has begun to ripen, and a light whisper has arisen to become noisy talk about the need to band together and unite under one banner. But matters are still in their initial stages. With God's praise, we are
  trying to ripen them quickly.

  2. Jihad here unfortunately [takes the form of] mines planted, rockets launched, and mortars shelling from afar. The Iraqi brothers still prefer safety and returning to the arms of their wives, where nothing
  frightens them. Sometimes the groups have boasted among themselves that not one of them has been killed or captured. We have told them in our many sessions with them that safety and victory are
  incompatible, that the tree of triumph and empowerment cannot grow tall and lofty without blood and defiance of death, that the [Islamic] nation cannot live without the aroma of martyrdom and the perfume
  of fragrant blood spilled on behalf of God, and that people cannot awaken from their stupor unless talk of martyrdom and martyrs fills their days and nights. The matter needs more patience and conviction.
  [Our] hope in God is great.

  E. (sic) The Immigrant Mujahidin

  Their numbers continue to be negligible as compared to the enormity of the expected battle. We know that the convoys of good are many, that the march of jihad continues, and that only confusion over the
  banner and a muffled reality keep many of them from [answering] the call to battle. What prevents us from [calling] a general alert is that the country has no mountains in which we can take refuge and no
  forests in whose thickets we can hide. Our backs are exposed and our movements compromised. Eyes are everywhere. The enemy is before us and the sea is behind us. Many an Iraqi will honor you as a
  guest and give you shelter as a peaceable brother. As for making his house into a base for launching [operations] and a place of movement and battle, this is rarer than red sulphur. For this reason, we have
  worn ourselves out on many occasions sheltering and protecting the brothers. This makes training the green newcomers like wearing bonds and shackles, even though, praise be to God and with relentless
  effort and insistent searching, we have taken possession of growing numbers of locations, praise be to God, to be base sites for brothers who are kindling [the fire of] war and drawing the people of the

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  country into the furnace of battle so that a real war will break out, God willing.

  Second: The Current Situation and the Future

  There is no doubt that the Americans' losses are very heavy because they are deployed across a wide area and among the people and because it is easy to procure weapons, all of which makes them easy
  and mouth-watering targets for the believers. But America did not come to leave, and it will not leave no matter how numerous its wounds become and how much of its blood is spilled. It is looking to the
  near future, when it hopes to disappear into its bases secure and at ease and put the battlefields of Iraq into the hands of the foundling government with an army and police that will bring the behavior of
  Saddam and his myrmidons back to the people. There is no doubt that the space in which we can move has begun to shrink and that the grip around the throats of the mujahidin has begun to tighten. With
  the deployment of soldiers and police, the future has become frightening.

  Third: So Where are We?

  Despite the paucity of supporters, the desertion of friends, and the toughness of the times,. God the Exalted has honored us with good harm to the enemy. Praise be to God, in terms of surveillance,
  preparation, and planning, we have been the keys to all of the martyrdom operations that have taken place except those in the north. Praise be to God, I have completed 25 [operations] up to now, including
  among the Shi`a and their symbolic figures, the Americans and their soldiers, the police and soldiers, and the coalition forces. God willing, more are to come. What has prevented us from going public is that
  we have been waiting until we have weight on the ground and finish preparing integrated structures capable of bearing the consequences of going public so that we appear in strength and do not suffer a
  reversal. We seek refuge in God. Praise be to God, we have made good strides and completed important stages. As the decisive moment approaches, we feel that [our] body has begun to spread in the
  security vacuum, gaining locations on the ground that will be the nucleus from which to launch and move out in a serious way, God willing.

  Fourth: The Work Plan

  After study and examination, we can narrow our enemy down to four groups.

  1. The Americans

  These, as you know, are the most cowardly of God's creatures. They are an easy quarry, praise be to God. We ask God to enable us to kill and capture them to sow panic among those behind them and to
  trade them for our detained shaykhs and brothers.

  2. The Kurds

  These are a lump [in the throat] and a thorn whose time to be clipped has yet to come. They are last on the list, even though we are making efforts to harm some of their symbolic figures, God willing.

  3. Soldiers, Police, and Agents

  These are the eyes, ears, and hands of the occupier, through which he sees, hears, and delivers violent blows. God willing, we are determined to target them strongly in the coming period before the
  situation is consolidated and they control arrest[s].

  4. The Shi`a

  These in our opinion are the key to change. I mean that targeting and hitting them in [their] religious, political, and military depth will provoke them to show the Sunnis their rabies � and bare the teeth of the
  hidden rancor working in their breasts. If we succeed in dragging them into the arena of sectarian war, it will become possible to awaken the inattentive Sunnis as they feel imminent danger and annihilating
  death at the hands of these Sabeans. Despite their weakness and fragmentation, the Sunnis are the sharpest blades, the most determined, and the most loyal when they meet those Batinis (Shi`a), who are
  a people of treachery and cowardice. They are arrogant only with the weak and can attack only the broken-winged. Most of the Sunnis are aware of the danger of these people, watch their sides, and fear
  the consequences of empowering them. Were it not for the enfeebled Sufi shaykhs and [Muslim] Brothers, people would have told a different tale.

  This matter, with the anticipated awaking of the slumberer and rousing of the sleeper, also includes neutralizing these [Shi`a] people and pulling out their teeth before the inevitable battle, along with the
  anticipated incitement of the wrath of the people against the Americans, who brought destruction and were the reason for this miasma. The people must beware of licking the honeycomb and enjoying some
  of the pleasures from which they were previously deprived, lest they surrender to meekness, stay on the[ir] land, prefer safety,, and turn away from the rattle of swords and the neighing of horses.

  5. The Work Mechanism

  Our current situation, as I have previously told you, obliges us to deal with the matter with courage and clarity and to move quickly to do so because we consider that [unless we do so] there will be no result
  in which religion will appear. The solution that we see, and God the Exalted knows better, is for us to drag the Shi`a into the battle because this is the only way to prolong the fighting between us and the
  infidels. We say that we must drag them into battle for several reasons, which are:

  1 - They, i.e., the Shi`a, have declared a secret war against the people of Islam. They are the proximate, dangerous enemy of the Sunnis, even if the Americans are also an archenemy. The danger from the
  Shi`a, however, is greater and their damage is worse and more destructive to the [Islamic] nation than the Americans, on whom you find a quasi-consensus about killing them as an assailing enemy.

  2 - They have befriended and supported the Americans and stood in their ranks against the mujahidin. They have spared and are still sparing no effort to put an end to the jihad and the mujahidin.

  3 - Our fighting against the Shi`a is the way to drag the [Islamic] nation into the battle. We speak here in some detail. We have said before that the Shi`a have put on the uniforms of the Iraqi army, police,
  and security [forces] and have raised the banner of preserving the homeland and the citizen. Under this banner, they have begun to liquidate the Sunnis under the pretext that they are saboteurs, remnants
  of the Ba`th, and terrorists spreading evil in the land. With strong media guidance from the Governing Council and the Americans, they have been able to come between the Sunni masses and the
  mujahidin. I give an example that brings the matter close to home in the area called the Sunni Triangle -- if this is the right name for it. The army and police have begun to deploy in those areas and are
  growing stronger day by day. They have put chiefs [drawn] from among Sunni agents and the people of the land in charge. In other words, this army and police may be linked to the inhabitants of this area
  by kinship, blood, and honor. In truth, this area is the base from which we set out and to which we return. When the Americans disappear from these areas - and they have begun to do so - and these
  agents, who are linked by destiny to the people of the land, take their place, what will our situation be?

  If we fight them {and we must fight them}, we will confront one of two things. Either:

  1 - We fight them, and this is difficult because of the gap that will emerge between us and the people of the land. How can we fight their cousins and their sons and under what pretext after the Americans,
  who hold the reins of power from their rear bases, pull back? The real sons of this land will decide the matter through experience. Democracy is coming, and there will be no excuse thereafter.

  2 - We pack our bags and search for another land, as is the sad, recurrent story in the arenas of jihad, because our enemy is growing stronger and his intelligence data are increasing day by day. By the
  Lord of the Ka`ba, [this] is suffocation and then wearing down the roads. People follow the religion of their kings. Their hearts are with you and their swords are with Bani Umayya (the Umayyads), i.e., with
  power, victory, and security. God have mercy.

  I come back and again say that the only solution is for us to strike the religious, military, and other cadres among the Shi`a with blow after blow until they bend to the Sunnis. Someone may say that, in this
  matter, we are being hasty and rash and leading the [Islamic] nation into a battle for which it is not ready, [a battle] that will be revolting and in which blood will be spilled. This is exactly what we want, since
  right and wrong no longer have any place in our current situation. The Shi`a have destroyed all those balances. God's religion is more precious that lives and souls. When the overwhelming majority stands
  in the ranks of truth, there has to be sacrifice for this religion. Let blood be spilled, and we will soothe and speed those who are good to their paradise. [As for} those who, unlike them, are evil, we will be
  delivered from them, since, by God, God's religion is more precious than anything and has priority over lives, wealth, and children. The best proof [of this] is the story of the Companions of the Ditch, whom
  God praised. [Imam] al-Nawawi said that this story contained proof that, if the city and the desert fought each other until all without exception perished unless they professed belief in the oneness of God,
  this would be good. Persons live, blood is saved, and honor is preserved only by sacrifice on behalf of this religion. By God, o brothers, with the Shi`a, we have rounds, attacks, and dark nights that we
  cannot postpone under any circumstances. Their danger is imminent, and what we and you feared is most certainly a reality. Know that those [Shi`a] are the most cowardly of God's creatures and that killing
  their leaders will only increase their weakness and cowardice, since with the death of one of their leaders the sect dies with him. It is not like when a Sunni leader dies. If one dies or is killed, a sayyid arises.
  In their fighting, they bring out courage and hearten the weak among the Sunnis. If you knew the fear [that exists] among the Sunnis and their masses, your eyes would cry over them in sadness. How many
  mosques have been converted into Husayniyyas (Shi`i mosques), how many houses have they demolished on the heads of their occupants, how many brothers have they killed and mutilated, and how
  many sisters have had their honor defiled at the hands of these depraved infidels? If we are able to strike them with one painful blow after another until they enter the battle, we will be able to [re]shuffle the
  cards. Then, no value or influence will remain to the Governing Council or even to the Americans, who will enter a second battle with the Shi`a. This is what we want, and, whether they like it or not, many
  Sunni areas will stand with the mujahidin. Then, the mujahidin will have assured themselves land from which to set forth in striking the Shi`a in their heartland, along with a clear media orientation and the
  creation of strategic depth and reach among the brothers outside [Iraq] and the mujahidin within.

  1 -- We are striving urgently and racing against time to create companies of mujahidin that will repair to secure places and strive to reconnoiter the country, hunting the enemy - Americans, police, and
  soldiers -- on the roads and lanes. We are continuing to train and multiply them. As for the Shi`a, we will hurt them, God willing, through martyrdom operations and car bombs.

  2. - We have been striving for some time to observe the arena and sift the those who work in it in search of those who are sincere and on the right path, so that we can cooperate with them for the good and
  coordinate some actions with them, so as to achieve solidarity and unity after testing and trying them. We hope that we have made good progress. Perhaps we will decide to go public soon, even if in a
  gradual way, so that we can come out into the open. We have been hiding for a long time. We are seriously preparing media material that will reveal the facts, call forth firm intentions, arouse determination,
  and be[come] an arena of jihad in which the pen and the sword complement each other.

  3 - This will be accompanied by an effort that we hope will intensify to expose crippling doubts and explain the rules of shari`a through tapes, printed materials, study, and courses of learning [meant] to
  expand awareness, anchor the doctrine of the unity of God, prepare the infrastructure, and meet [our] obligation.



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  5 (sic) - TheTiming for Implementation

  It is our hope to accelerate the pace of work and that companies and battalions with expertise, experience, and endurance will be formed to await the zero hour when we will begin to appear in the open,
  gain control the land at night, and extend it into daylight, the One and Conquering God willing. We hope that this matter, I mean the zero hour, will [come] four months or so before the promised government
  is formed. As you can see, we are racing against time. If we are able, as we hope, to turn the tables on them and thwart their plan, this will be good. If the other [scenario] [happens] - and we seek refuge in
  God - and the government extends its control over the country, we will have to pack our bags and break camp for another land in which we can resume carrying the banner or in which God will choose us as
  martyrs for his sake.

  6. What About You?

  You, gracious brothers, are the leaders, guides, and symbolic figures of jihad and battle. We do not see ourselves as fit to challenge you, and we have never striven to achieve glory for ourselves. All that we
  hope is that we will be the spearhead, the enabling vanguard, and the bridge on which the [Islamic] nation crosses over to the victory that is promised and the tomorrow to which we aspire. This is our vision,
  and we have explained it. This is our path, and we have made it clear. If you agree with us on it, if you adopt it as a program and road, and if you are convinced of the idea of fighting the sects of apostasy,
  we will be your readied soldiers, working under your banner, complying with your orders, and indeed swearing fealty to you publicly and in the news media, vexing the infidels and gladdening those who
  preach the oneness of God. On that day, the believers will rejoice in God's victory. If things appear otherwise to you, we are brothers, and the disagreement will not spoil [our] friendship. [This is} a cause [in
  which] we are cooperating for the good and supporting jihad. Awaiting your response, may God preserve you as keys to good and reserves for Islam and its people. Amen, amen.

  Peace and the mercy and blessings of God be upon you.

  [End text]




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                    Abu Musab al-Zargawi
                            and
                      Al-Qaida in Iraq


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                                                 Abu Musab al-Zarqawi
                                                                                            MEM




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• Background                                                           (e)

   — In Afghanistan/Pakistan late 1980s/early 1990s
   — Detained in Jordan in mid-1990s                                             Abu Musab al-Zarqawi
   — Returned to Afghanistan/Pakistan, ran training camp                         (aka Ahmed Fadhil al-
                                                                                 Khalaliyah)
   — Late 2001 fled to Iran, established base in N. Iraq
   — Traveled throughout region in 2002/2003, in Iraq                            Nationality: Jordanian
                                                                                 of Palestinian descent
     since mid-2003
                                                                                 DOB: 30 Oct 1966

• Pre-01F involvement in several terrorist operations
   — Millennium plot in Jordan, Dec 1999 and
     assassination of USAID official in Jordan, Oct 2002
   — Toxins network/operations in Europe/Middle East
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—sfeRE—Tnime142444.— Al-Zargawi Merger With al-Qaida
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• Al-Zarqawi is the key face of jihad in Iraq
    —Executed more high-profile attacks in Iraq than Usama Bin Ladin has
     worldwide
    —Capability and intent to conduct operations outside of Iraq

 • Publicly pledged allegiance to Bin Ladin in October 2004
    —Changed group name to al-Qaida in Iraq
    —Formal alignment with bin Ladin will augment capabilities of jihadists in
     Iraq and Afghanistan/Pakistan
    —Increases likelihood transnational operations will be conducted by
     veterans of Iraq jihad

 • Iraq jihad will continue after al-Zarqawi is captured/killed
    —Network has proven adaptability and resiliency
    —External support nodes will remain critical
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                 Al-Qaida in Iraq: Goals and Strategy
                                                                                          WHIN
• AI-Zarqawi strategy detailed in letter to Bin Ladin in Jan 2004
   - Window of opportunity for jihad battle
   - Inciting war with Shia key to prolonging instability, motivating Iraqi and
     foreign Sunni extremists

• Iraq elections have not altered al-Qaida goals, strategy, target set
   - Al-Zarqawi views Iraqi Government as a US proxy, "apostate regime"
   - Targets include MNF-I, Iraqi Government, Shia, secular Kurdish leaders,
     elements supporting reconstruction efforts, and international organizations
   - Focusing attacks against Iraqi Government/security forces and MNF-I to
     hinder stability

• Propaganda is window into jihadist goals
   - AI-Zarqawi stated jihad in Iraq will continue until Islamic state established
   - Bin Ladin reference to Iraq as a "decisive war"




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                    Al-Qaida in Iraq: Outlook for 2005
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• Resilient despite major set-backs
   — More than 50 significant al-Zarqawi associates killed/captured since 2003
   — Loss of al-Fallujah as main operating base in late 2004
   — Coalition actions force network to continuously adapt

• Continued high operational/propaganda tempo
   — 2005 pace of attacks, propaganda higher than 2004 averages
   — Percentage of jihadist attacks small, but have disproportionate effect

• Five key strengths
   — Percentage of acquiescence/support from local populace, mergers with
     Iraqi extremist groups ensure freedom of movement
   — Mix of centralized/decentralized C2 fosters efficient, flexible attack plans
   — Propaganda garners sustained external support
   — Logistical pipelines replenish losses
   — Operatives able to quickly assume new responsibilities after key
     personnel losses

• Al-Zarqawi as key driver of plots outside Iraq
   — Support for multiple operations — Europe, Jordan, Lebanon, and Arabian
     Peninsula, including possible CONUS attack
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                      FN 31
  Letter from Ayman Zawahiri to Abu
  Musab al-Zarqawi (July 9, 2005)
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In the name of God, praise be to God, and praise and blessings be upon the Messenger of
God, his family, his Companions, and all those who follow him.
                      .................................

The gracious brother/Abu Musab, God protect him and watch over him, may His religion,
and His Book and the Sunna of His Prophet @ aid him, I ask the Almighty that he bless
him, us, and all Muslims, with His divine aid, His clear victory, and His release from
suffering be close at hand. Likewise, I ask the Almighty to gather us as He sees fit from
the glory of this world and the prize of the hereafter.

1-Dear brother, God Almighty knows how much I miss meeting with you, how much I
long to join you in your historic battle against the greatest of criminals and apostates in
the heart of the Islamic world, the field where epic and major battles in the history of
Islam were fought. I think that if I could find a way to you, I would not delay a day,
God willing.

2-My dear brother, we are following your news, despite the difficulty and hardship. We
received your last published message sent to Sheikh Usama Bin Ladin, God save him.
Likewise, I made sure in my last speech-that Aljazeera broadcast Saturday, 11 Jumadi I,
1426h, 18 June 2005-to mention you, send you greetings, and show support and thanks
for the heroic acts you are performing in defense of Islam and the Muslims, but I do not
know what Aljazeera broadcast. Did this part appear or not? I will try to attach the
full speech with this message, conditions permitting.

 Likewise, I showed my support for your noble initiative to join with your brothers,
during a prior speech I sent to the brothers a number of months ago, but the brothers'
circumstances prevented its publication.

3-I want to reassure you about our situation. The summer started hot with operations
escalating in Afghanistan. The enemy struck a blow against us with the arrest of Abu
al-Faraj, may God break his bonds. However, no Arab brother was arrested because of
him. The brothers tried-and were successful to a great degree-to contain the fall of
Abu al-Faraj as much as they could.

However, the real danger comes from the agent Pakistani army that is carrying out
operations in the tribal areas looking for mujahedeen.

4-I want to keep corresponding with you about the details of what is going on in dear
Iraq, especially since we do not know the full truth as you know it. Therefore, I want
you to explain to me your situation in a little detail, especially in regards to the
political angle. I want you to express to me what is on your mind in regards to what is
on my mind in the way of questions and inquiries.


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A-I want to be the first to congratulate you for what God has blessed you with in terms
of fighting battle in the heart of the Islamic world, which was formerly the field for
major battles in Islam's history, and what is now the place for the greatest battle of
Islam in this era, and what will happen, according to what appeared in the Hadiths of
the Messenger of God @ about the epic battles between Islam and atheism. It has always
been my belief that the victory of Islam will never take place until a Muslim state is
established in the manner of the Prophet in the heart of the Islamic world, specifically
in the Levant, Egypt, and the neighboring states of the Peninsula and Iraq; however, the
center would be in the Levant and Egypt. This is my opinion, which I do not preach as
infallibile, but I have reviewed historical events and the behavior of the enemies of
Islam themselves, and they did not establish Israel in this triangle surrounded by Egypt
and Syria and overlooking the Hijaz except for their own interests.

As for the battles that are going on in the far-flung regions of the Islamic world, such
as Chechnya, Afghanistan, Kashmir, and Bosnia, they are just the groundwork and the
vanguard for the major battles which have begun in the heart of the Islamic world. We
ask God that He send down his victory upon us that he promised to his faithful
worshipers.

It is strange that the Arab nationalists also have, despite their avoidance of Islamic
practice, come to comprehend the great importance of this province. It is like a bird
whose wings are Egypt and Syria, and whose heart is Palestine. They have come to
comprehend the goal of planting Israel in this region, and they are not misled in this,
rather they have admitted their ignorance of the religious nature of this conflict.

What I mean is that God has blessed you and your brothers while many of the Muslim
mujahedeen have longed for that blessing, and that is Jihad in the heart of the Islamic
world. He has, in addition to that, granted you superiority over the idolatrous
infidels, traitorous apostates, and those turncoat deviants.

This is what God Almighty has distinguished you and your brothers with over the
mujahedeen before you who fought in the heart of the Islamic world, and in Egypt and
Syria to be precise, but this splendor and superiority against the enemies of Islam was
not ordained for them.

God also blessed you not only with the splendor of the spearhead of Jihad, but with the
splendor as well of the doctrines of monotheism, the rejection of polytheism, and
avoidance of the tenets of the secularists and detractors and inferiors, the call to the
pure way of the Prophet, and the sublime goal that the Prophet @ left to his companions
{. This is a blessing on top of blessing on top of blessing which obliges you and your
noble brothers to be constantly thankful and full of praise. The Almighty said: (If ye
are grateful, He is pleased with you) and the Almighty says: (If ye are grateful, I will
add more unto you.)




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B-Because of this, we are extremely concerned, as are the mujahedeen and all sincere
Muslims, about your Jihad and your heroic acts until you reach its intended goal.
You know well that purity of faith and the correct way of living are not connected
necessarily to success in the field unless you take into consideration the reasons and
practices which events are guided by. For the grandson of the Prophet Imam al Hussein
Bin Ali }, the Leader of the Faithful Abdallah Bin al-Zubair }, Abdul Rahman Bin
al-Ashath ~, and other great people, did not achieve their sought-after goal.

C-If our intended goal in this age is the establishment of a caliphate in the manner of
the Prophet and if we expect to establish its state predominantly-according to how it
appears to us-in the heart of the Islamic world, then your efforts and sacrifices-God
permitting-are a large step directly towards that goal.

So we must think for a long time about our next steps and how we want to attain it, and
it is my humble opinion that the Jihad in Iraq requires several incremental goals:

The first stage: Expel the Americans from Iraq.

The second stage: Establish an Islamic authority or amirate, then develop it and support
it until it achieves the level of a caliphate- over as much territory as you can to
spread its power in Iraq, i.e., in Sunni areas, is in order to fill the void stemming
from the departure of the Americans, immediately upon their exit and before un-Islamic
forces attempt to fill this void, whether those whom the Americans will leave behind
them, or those among the un-Islamic forces who will try to jump at taking power.

There is no doubt that this amirate will enter into a fierce struggle with the foreign
infidel forces, and those supporting them among the local forces, to put it in a state
of constant preoccupation with defending itself, to make it impossible for it to
establish a stable state which could proclaim a caliphate, and to keep the Jihadist
groups in a constant state of war, until these forces find a chance to annihilate them.

The third stage: Extend the jihad wave to the secular countries neighboring Iraq.

The fourth stage: It may coincide with what came before: the clash with Israel, because
Israel was established only to challenge any new Islamic entity.

My raising this idea-I don't claim that it's infallible-is only to stress something
extremely important. And it is that the mujahedeen must not have their mission end with
the expulsion of the Americans from Iraq, and then lay down their weapons, and silence
the fighting zeal. We will return to having the secularists and traitors holding sway
over us. Instead, their ongoing mission is to establish an Islamic state, and defend
it, and for every generation to hand over the banner to the one after it until the Hour
of Resurrection.




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If the matter is thus, we must contemplate our affairs carefully, so that we are not
robbed of the spoils, and our brothers did not die, so that others can reap the fruits
of their labor.

D-If we look at the two short-term goals, which are removing the Americans and
establishing an Islamic amirate in Iraq, or a caliphate if possible, then, we will see
that the strongest weapon which the mujahedeen enjoy - after the help and granting of
success by God - is popular support from the Muslim masses in Iraq, and the surrounding
Muslim countries.

So, we must maintain this support as best we can, and we should strive to increase it,
on the condition that striving for that support does not lead to any concession in the
laws of the Sharia.

And it's very important that you allow me to elaborate a little here on this issue of
popular support. Let's say:

(1) If we are in agreement that the victory of Islam and the establishment of a
caliphate in the manner of the Prophet will not be achieved except through jihad
against the apostate rulers and their removal, then this goal will not be accomplished
by the mujahed movement while it is cut off from public support, even if the Jihadist
movement pursues the method of sudden overthrow. This is because such an overthrow
would not take place without some minimum of popular support and some condition of
public discontent which offers the mujahed movement what it needs in terms of
capabilities in the quickest fashion. Additionally, if the Jihadist movement were
obliged to pursue other methods, such as a popular war of jihad or a popular intifadah,
then popular support would be a decisive factor between victory and defeat.

(2) In the absence of this popular support, the Islamic mujahed movement would be
crushed in the shadows, far from the masses who are distracted or fearful, and the
struggle between the Jihadist elite and the arrogant authorities would be confined to
prison dungeons far from the public and the light of day. This is precisely what the
secular, apostate forces that are controlling our countries are striving for. These
forces don't desire to wipe out the mujahed Islamic movement, rather they are
stealthily striving to separate it from the misguided or frightened Muslim masses.
Therefore, our planning must strive to involve the Muslim masses in the battle, and to
bring the mujahed movement to the masses and not conduct the struggle far from them.

(3) The Muslim masses-for many reasons, and this is not the place to discuss it-do not
rally except against an outside occupying enemy, especially if the enemy is firstly
Jewish, and secondly American.

This, in my limited opinion, is the reason for the popular support that the mujahedeen
enjoy in Iraq, by the grace of God.




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As for the sectarian and chauvinistic factor, it is secondary in importance to outside
aggression, and is much weaker than it. In my opinion-which is limited and which is
what I see far from the scene-the awakening of the Sunni people in Iraq against the Shia
would not have had such strength and toughness were it not for the treason of the Shia
and their collusion with the Americans, and their agreement with them to permit the
Americans to occupy Iraq in exchange for the Shia assuming power.

(4) Therefore, the mujahed movement must avoid any action that the masses do not
understand or approve, if there is no contravention of Sharia in such avoidance, and as
long as there are other options to resort to, meaning we must not throw the masses-scant
in knowledge-into the sea before we teach them to swim, relying for guidance in that on
the saying of the Prophet @ to Umar bin al-Khattab<: lest the people should say that
Muhammad used to kill his Companions.

Among the practical applications of this viewpoint in your blessed arena:

(A) The matter of preparing for the aftermath of the exit of the Americans: The
Americans will exit soon, God willing, and the establishment of a governing authority-as
soon as the country is freed from the Americans-does not depend on force alone. Indeed,
it's imperative that, in addition to force, there be an appeasement of Muslims and a
sharing with them in governance and in the Shura council and in promulgating what is
allowed and what is not allowed. In my view-which I continue to reiterate is limited
and has a distant perspective upon the events-this must be achieved through the people
of the Shura and who possess authority to determine issues and make them binding, and
who are endowed with the qualifications for working in Sharia law. They would be
elected by the people of the country to represent them and overlook the work of the
authorities in accordance with the rules of the glorious Sharia.

And it doesn't appear that the Mujahedeen, much less the al-Qaida in the Land of Two
Rivers, will lay claim to governance without the Iraqi people. Not to mention that that
would be in contravention of the Shura methodology. That is not practical in my
opinion.

You might ask an important question: What drives me to broach these matters while we
are in the din of war and the challenges of killing and combat?

My answer is, firstly: Things may develop faster than we imagine. The aftermath of the
collapse of American power in Vietnam-and how they ran and left their agents-is
noteworthy. Because of that, we must be ready starting now, before events overtake us,
and before we are surprised by the conspiracies of the Americans and the United Nations
and their plans to fill the void behind them. We must take the initiative and impose a
fait accompli upon our enemies, instead of the enemy imposing one on us, wherein our
lot would be to merely resist their schemes.

Second: This is the most vital part. This authority, or the Sharia amirate that is
necessary, requires fieldwork starting now, alongside the combat and war. It would be a



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political endeavor in which the mujahedeen would be a nucleus around which would
gather the tribes and their elders, and the people in positions, and scientists, and
merchants, and people of opinion, and all the distinguished ones who were not sullied by
appeasing the occupation and those who defended Islam.

We don't want to repeat the mistake of the Taliban, who restricted participation in
governance to the students and the people of Qandahar alone. They did not have any
representation for the Afghan people in their ruling regime, so the result was that the
Afghan people disengaged themselves from them. Even devout ones took the stance of
the spectator and, when the invasion came, the amirate collapsed in days, because the
people were either passive or hostile. Even the students themselves had a stronger
affiliation to their tribes and their villages than their affiliation to the Islamic amirate or
the Taliban movement or the responsible party in charge of each one of them in his place.
Each of them retreated to his village and his tribe, where his affiliation was stronger!!

The comparison between the fall of Kabul and the resistance of Fallujah, Ramadi,
and Al Qaim and their fearless sisters shows a clear distinction, by God's grace and His
kindness. It is the matter towards which we must strive, that we must support and
strengthen.

Therefore, I stress again to you and to all your brothers the need to direct the
political action equally with the military action, by the alliance, cooperation and
gathering of all leaders of opinion and influence in the Iraqi arena. I can't define
for you a specific means of action. You are more knowledgeable about the field
conditions. But you and your brothers must strive to have around you circles of
support, assistance, and cooperation, and through them, to advance until you become a
consensus, entity, organization, or association that represents all the honorable people
and the loyal folks in Iraq. I repeat the warning against separating from the masses,
whatever the danger.

(2) Striving for the unity of the mujahedeen: This is something I entrust to you. It
is between you and God. If the mujahedeen are scattered, this leads to the scattering
of the people around them. I don't have detailed information about the situation of the
mujahedeen, so I ask that you help us with some beneficial details in this, and the
extent of the different mujahedeen movements' readiness to join the course of unity.

(3) Striving for the ulema: From the standpoint of not highlighting the doctrinal
differences which the masses do not understand, such as this one is Matridi or this one
is Ashari or this one is Salafi, and from the standpoint of doing justice to the people,
for there may be in the world a heresy or an inadequacy in a side which may have
something to give to jihad, fighting, and sacrifice for God. We have seen magnificent
examples in the Afghan jihad, and the prince of believers, Mullah Muhammad Omar -
may God protect him - himself is of Hanafi adherence, Matridi doctrine, but he stood in
the history of Islam with a stance rarely taken. You are the richer if you know the stances
of the authentic ulema on rulers in times of jihad and the defense of the Muslim holy




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sites. And more than that, their stances on doing justice to the people and not denying
their merit.

The ulema among the general public are, as well, the symbol of Islam and its emblem.
Their disparagement may lead to the general public deeming religion and its adherents as
being unimportant. This is a greater injury than the benefit of criticizing a theologian on
a heresy or an issue.

Of course, these words of mine have nothing to do with the hypocritical traitors who are
in allegiance with the crusaders, but I wish to stress the warning against diminishing
the ulema before the general public.

Also, the active mujahedeen ulema - even if there may be some heresy or fault in them
that is not blasphemous - we must find a means to include them and to benefit from their
energy. You know well -what I am mentioning to you- that many of the most learned
ulema of Islam such as Izz Bin Abdul Salam, al-Nawawi, and Ibn Hajar - may God have
mercy on them - were Ashari. And many of the most eminent jihadists, whom the Umma
resolved unanimously to praise such as Nur al-Din Bin Zanki and Salahal-Din al-Ayyubi
- were Ashari. The mujahedeen sultans who came after them - who didn't reach their
level - whom the ulema and the historians lauded such as Sayf al-Din Qatz, Rukn al-Din
Baybars, al-Nasir Muhammad Bin-Qallawun, and Muhammad al-Fatih, were Ashari or
Matridi. They fell into errors, sins, and heresies. And the stances of Sheikh al-Islam Ibn
Taymiya regarding al-Nasir Muhammad Bin Qallawun and his extolling of him and his
inciting him to jihad - despite the prosecutions and prison which befell the sheikh in his
time - are well known.

If you take into account the fact that most of the Umma's ulema are Ashari or Matridi,
and if you take into consideration as well the fact that the issue of correcting the
mistakes of ideology is an issue that will require generations of the call to Islam and
modifying the educational curricula, and that the mujahedeen are not able to undertake
this burden, rather they are in need of those who will help them with the difficulties
and problems they face; if you take all this into consideration, and add to it the fact
that all Muslims are speaking of jihad, whether they are Salafi or non-Salafi, then you
would understand that it is a duty of the mujahed movement to include the energies of
the Umma and in its wisdom and prudence to fill the role of leader, trailblazer, and
exploiter of all the capabilities of the Umma for the sake of achieving our aims: a
caliphate along the lines of the Prophet's, with God's permission.

I do not know the details of the situation where you are, but I do not want us to repeat
the mistake of Jamil al-Rahman~, who was killed and whose organization was shattered,
because he neglected the realities on the ground.

(4) The position on the Shia:




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This subject is complicated and detailed. I have brought it up here so as not to
address the general public on something they do not know. But please permit me to
present it logically:

(A) I repeat that I see the picture from afar, and I repeat that you see what we do not
see. No doubt you have the right to defend yourself, the mujahedeen, and Muslims in
general and in particular against any aggression or threat of aggression.

(B) I assert here that any rational person understands with ease that the Shia
cooperated with the Americans in the invasion of Afghanistan, Rafsanjani himself
confessed to it, and they cooperated with them in the overthrow of Saddam and the
occupation of Iraq in exchange for the Shia's assumption of power and their turning a
blind eye to the American military presence in Iraq. This is clear to everybody who has
two eyes.

(C) People of discernment and knowledge among Muslims know the extent
 of danger to Islam of the Twelve'er school of Shiism. It is a religious school
based on excess and falsehood whose function is to accuse the companions of
Muhammad { of heresy in a campaign against Islam, in order to free the way for a group
of those who call for a dialogue in the name of the hidden mahdi who is in control of
existence and infallible in what he does. Their prior history in cooperating with the
enemies of Islam is consistent with their current reality of connivance with the Crusaders.

(D) The collision between any state based on the model of prophecy with the Shia is a
matter that will happen sooner or later. This is the judgment of history, and these are
the fruits to be expected from the rejectionist Shia sect and their opinion of the Sunnis.
These are clear, well-known matters to anyone with a knowledge of history, the
ideologies, and the politics of states.

(E) We must repeat what we mentioned previously, that the majority of Muslims don't
comprehend this and possibly could not even imagine it. For that reason, many of your
Muslim admirers amongst the common folk are wondering about your attacks on the
Shia. The sharpness of this questioning increases when the attacks are on one of their
mosques, and it increases more when the attacks are on the mausoleum of Imam Ali Bin
Abi Talib, may God honor him. My opinion is that this matter won't be acceptable to the
Muslim populace however much you have tried to explain it, and aversion to this will
continue.

Indeed, questions will circulate among mujahedeen circles and their opinion makers
about the correctness of this conflict with the Shia at this time. Is it something that is
unavoidable? Or, is it something can be put off until the force of the mujahed movement
in Iraq gets stronger? And if some of the operations were necessary for self-defense,
were all of the operations necessary? Or, were there some operations that weren't called
for? And is the opening of another front now in addition to the front against the
Americans and the government a wise decision? Or, does this conflict with the Shia lift
the burden from the Americans by diverting the mujahedeen to the Shia, while the



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Americans continue to control matters from afar? And if the attacks on Shia leaders were
necessary to put a stop to their plans, then why were there attacks on ordinary Shia?
Won't this lead to reinforcing false ideas in their minds, even as it is incumbent on
us to preach the call of Islam to them and explain and communicate to guide them to the
truth? And can the mujahedeen kill all of the Shia in Iraq? Has any Islamic state in
history ever tried that? And why kill ordinary Shia considering that they are forgiven
because of their ignorance? And what loss will befall us if we did not attack the Shia?
And do the brothers forget that we have more than one hundred prisoners - many of
whom are from the leadership who are wanted in their countries - in the custody of the
Iranians? And even if we attack the Shia out of necessity, then why do you announce
this matter and make it public, which compels the Iranians to take counter measures? And
do the brothers forget that both we and the Iranians need to refrain from harming each
other at this time in which the Americans are targeting us?

All of these questions and others are circulating among your brothers, and they are
monitoring the picture from afar, as I told you. One who monitors from afar lacks many
of the important details that affect decision-making in the field.

However, monitoring from afar has the advantage of providing the total picture and
observing the general line without getting submerged in the details, which might draw
attention away from the direction of the target. As the English proverb says, the person
who is standing among the leaves of the tree might not see the tree.

One of the most important factors of success is that you don't let your eyes lose sight
of the target, and that it should stand before you always. Otherwise you deviate from
the general line through a policy of reaction. And this is a lifetime's experience, and
I will not conceal from you the fact that we suffered a lot through following this
policy of reaction, then we suffered a lot another time because we tried to return to
the original line.

One of the most important things facing the leadership is the enthusiasm of the
supporters, and especially of the energetic young men who are burning to make the
religion victorious. This enthusiasm must flow wisely, and al-Mutanabbi says:

 Courage in a man does suffice but not like the courage of one who is wise.

And he also says:

 Judiciousness precedes the courage of the courageous which is second
 And when the two blend in one free soul it reaches everywhere in the heavens.

In summation, with regard to the talk about the issue of the Shia, I would like to
repeat that I see that matter from afar without being aware of all the details, I would
like my words to be deserving of your attention and consideration, and God is the
guarantor of success for every good thing.




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(5) Scenes of slaughter:

Among the things which the feelings of the Muslim populace who love and support you
will never find palatable - also- are the scenes of slaughtering the hostages. You
shouldn't be deceived by the praise of some of the zealous young men and their
description of you as the shaykh of the slaughterers, etc. They do not express the general
view of the admirer and the supporter of the resistance in Iraq, and of you in particular by
the favor and blessing of God.

And your response, while true, might be: Why shouldn't we sow terror in the hearts of
the Crusaders and their helpers? And isn't the destruction of the villages and the
cities on the heads of their inhabitants more cruel than slaughtering? And aren't the
cluster bombs and the seven ton bombs and the depleted uranium bombs crueler than
slaughtering? And isn't killing by torture crueler than slaughtering? And isn't
violating the honor of men and women more painful and more destructive than
slaughtering?

All of these questions and more might be asked, and you are justified. However this does
not change the reality at all, which is that the general opinion of our supporter does
not comprehend that, and that this general opinion falls under a campaign by the
malicious, perfidious, and fallacious campaign by the deceptive and fabricated media.
And we would spare the people from the effect of questions about the usefulness of our
actions in the hearts and minds of the general opinion that is essentially sympathetic
to us.

And I say to you with sure feeling and I say: That the author of these lines has tasted
the bitterness of American brutality, and that my favorite wife's chest was crushed by a
concrete ceiling and she went on calling for aid to lift the stone block off her chest
until she breathed her last, may God have mercy on her and accept her among the
martyrs. As for my young daughter, she was afflicted by a cerebral hemorrhage, and she
continued for a whole day suffering in pain until she expired. And to this day I do not
know the location of the graves of my wife, my son, my daughter, and the rest of the
three other families who were martyred in the incident and who were pulverized by the
concrete ceiling, may God have mercy on them and the Muslim martyrs. Were they
brought out of the rubble, or are they still buried beneath it to this day?

However, despite all of this, I say to you: that we are in a battle, and that more than
half of this battle is taking place in the battlefield of the media. And that we are in
a media battle in a race for the hearts and minds of our Umma. And that however far our
capabilities reach, they will never be equal to one thousandth of the capabilities of
the kingdom of Satan that is waging war on us. And we can kill the captives by bullet.
That would achieve that which is sought after without exposing ourselves to the
questions and answering to doubts. We don't need this.

E-I would like you to explain for us another issue related to Iraq, and I think without
a doubt that you are the most knowledgeable about it. Can the assumption of leadership



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for the mujahedeen or a group of the mujahedeen by non-Iraqis stir up sensitivity for
some people? And if there is sensitivity, what is its effect? And how can it be
eliminated while preserving the commitment of the jihadist work and without exposing it
to any shocks? Please inform us in detail regarding this matter.

F-Likewise I would like you to inform us about the Iraqi situation in general and the
situation of the mujahedeen in particular in detail without exposing the security of the
mujahedeen and the Muslims to danger. At the least, we should know as much as the
enemy knows. And allow us to burden you with this trouble, for we are most eager to
learn your news.

G-I have a definite desire to travel to you but I do not know whether that is possible
from the standpoint of traveling and getting settled, so please let me know. And God is
the guarantor of every good thing.

5-Please take every caution in the meetings, especially when someone claims to carry an
important letter or contributions. It was in this way that they arrested Khalid Sheikh.
Likewise, please, if you want to meet one of your assistants, I hope that you don't meet
him in a public place or in a place that is not known to you. I hope that you would meet
him in a secure place, not the place of your residence. Because Abu al-Faraj - may God
set him free and release him from his torment - was lured by one of his brothers, who
had been taken into custody, to meet him at a public location where a trap had been set.
6-The brothers informed me that you suggested to them sending some assistance. Our
situation since Abu al-Faraj is good by the grace of God, but many of the lines have
been cut off. Because of this, we need a payment while new lines are being opened. So,
if you're capable of sending a payment of approximately one hundred thousand, we'll be
very grateful to you.

7-The subject of the Algerian brothers at our end, there are fears from the previous
experiences, so if you're able to get in touch with them and notify us of the details
from them, we would be very grateful to you.

8-As for news on the poor servant,

A-During an earlier period I published some publications:

(1) Allegiance and exemption - A Faith transmitted, a lost reality.
(2) Strengthening the Banner of Islam - an article emphasizing the authority's
commitment to monotheism.

???????????????????????????????????????????????????????????????????????????????

(3) Wind of Paradise - an article about: Most Honorable Sacrifices of the Believers -
Campaigns of Death and Martyrdom.




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I endeavored in this article to include what was written on the subject as much as I
could. I also strived to verify every word in it, and it's an issue that took me almost
a year or more.

(4) The Bitter Harvest - The Muslim Brotherhood in 60 Years - Second Edition 1426h -
2005m.

In this edition, I wanted to delete all the extreme phrases for which there's no proof,
and I referred to the book a number of times, then I wrote a new preface. In it I
pointed out a dangerous trend of the Brotherhood, especially in the circumstances of the
New Crusader War which was launched on the Islamic Umma. In my opinion, this
edition is better than the first with respect to the calmness of the presentation instead of
being emotional. The Brotherhood's danger is demonstrated by the weakening of the
Islamic Resistance to the campaign of the Crusaders and their supporters. God is the only
one who is perfect.

(5) I have also had fifteen audio statements published and six others that were not
published for one reason or another. We ask God for acceptance and devotion.
I will enclose for you the written statements and what I can of the audio and video
statements with this message, God willing. If you find they are good, you can publish
them. We seek God's assistance.

(6) I don't know if you all have contact with Abu Rasmi? Even if it is via the
Internet, because I gave him a copy of my book (A Knight under the banner of the
Prophet@) so he could attempt to publish it, and I lost the original. Al-Sharq al-Awsat
newspaper published it truncated and jumbled. I think that the American intelligence
services provided the aforementioned newspaper with it from my computer which they
acquired, because the publication of the book coincided with a publication of messages
from my computer in the same newspaper. So if you can contact him and get the original
of the book, if that is possible for you all, then you can publish it on your blessed
website and then send a copy to us, if that is possible.

B-As for my personal condition, I am in good health, blessings and wellness thanks to
God and His grace. I am only lacking your pious prayers, in which I beg you not to
forget me. God Almighty has blessed me with a daughter whom I have named (Nawwar),
and Nawwar means: the timid female gazelle and the woman who is free from suspicion,
and technically: it is the name of my maternal aunt who was a second mother to me and
who stood with me during all the difficult and harsh times. I ask God to reward her for
me with the best reward, and have mercy on her, our mothers and the Muslims.

9-My greetings to all the loved ones and please give me news of Karem and the rest of
the folks I know, and especially:

By God, if by chance you're going to Fallujah, send greetings to Abu Musab al-Zarqawi.




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In closing, I ask God entrust you all with His guardianship, providence and protection,
and bless you all in your families, possessions and offspring and protect them from all
evil and that He delight you all with them in this world and the next world, and that He
bestow upon us and you all the victory that he promised his servants the Believers, and
that He strengthen for us our religion which He has sanctioned for us, and that He make
us safe after our fear.Peace, God's blessings and mercy to you.

Your loving brother

Abu Muhammad
Saturday, 02 Jumada al-Thani, 1426 - 09 July, 2005.




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                      FN 33
 Letter from Atiyah abd al-Rahman to Zarqawi
                  (late 2005)
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TRANSLATION BEGINS

In the name of God, the Compassionate, the Merciful.

To the dear brother, beloved friend, and noble gentleman Abu-Mus’ab, may God protect
him and keep him safe and remedy his mistakes, and may He raise his rank in the two
realms and honor his abode; from his loving brother, ‘Atiyah, may God forgive him.

May God be praised resoundingly, and may peace and prayer be upon Muhammad, His
servant and His messenger, as well as upon his family, his companions, and his soldiers.

Greetings and God bless you. We pray to God that you are safe and sound, enjoying the
strength you have been granted through the grace of God, the Almighty, and All-
Powerful. We pray to God for your victory over the enemies, and that He will grant you
patience, keep you steadfast, and extend to you His support. We pray that He brings
tranquility to you and all of your brothers, and that He covers you with mercy, and that
He is a support and help to you, for indeed grace is from God and God alone.

Dear brother, I will be brief and rely on God Almighty. Then I will trust in your patience,
your high manners, the sincerity of your love for me, and that you think well of me. I
trust that you remedy shortcomings and guard against flaws and errors, and that you will
overlook things if there arises something inappropriate from your brother. I shall get
right to the point and skip the generalities and get into the details. The purpose of the
path belongs to God, and from Him I derive aid and guidance. Any success that I may
attain shall come only through God. I have put my trust in Him and on Him I rely.

My dear brother, who is content, God willing, Abu-Mus’ab the worthy, may God grant
him success. God knows how highly we think of you and how much we are confident in
you and in your faith and loyalty, we consider you as such and God is your Judge. You
are better than us. You forged ahead and you were true and you didn’t hesitate, falter, or
lay down arms. Instead, you persevered in God the Jihad and the struggle. God gave you
good attributes and bestowed honorable characteristics upon you, such as sincerity of
direction, fervor for the religion, empathy for the afflictions of his people and support for
them, high aspirations to do what you see as right and true, even if the whole world
opposes you, a strength of will and determination that many people lack, even among the
people of righteousness and knowledge, and courage and truthfulness.

We think of you this way, among other good qualities and innate characteristics, along
with good faith. We perceive you as such, for my thinking of you has not altered and has
not changed. I have known people and their tribulations, since there is hardly any grief
that goes unnoticed by a hired mourner-woman, except by God’s will. I am not any
smarter than you here, for you know yourself and your flaws and faults more than anyone
else, oh servant. However, I am reminding you of God’s blessing upon you and what He
has granted you, which we ourselves know.

I am setting this out as an introduction to what I am going to say to you in the way of
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opinion, advice, and instruction, for my discourse will be primarily about the negatives
and cautioning against things that are perilous and ruinous. I won’t be touching on the
positives and good things, since they are the true nature, praise and credit be to God, and
they are the overwhelming majority, by the grace of God. So, don’t trouble yourself
about that, because the topic is one of correction and instruction, not a topic of
appreciation, praise, and interpretation. If God wanted, and He were to present us to you,
then you would find us to be your loved ones and your brothers, the most just of people
towards you, the most sincere of them, the most sympathetic towards you, the most
protective of your right, and the most forgiving of them, God willing.

After all, you are truly the mujahidin against the enemies of God, standing on the edifices
of truth and allegiance with God, making the religion manifest while being endorsers of
it. You are the ones who have spited America, the greatest unbelieving crusader power in
history; and you are the ones who have spited it, and you have broken its prestige and
thrown it to the ground. May God will for you a good reward with which you would
continue the path at a critical time for the vast good work of awakening the generation
and resurrecting the Muslim nation. May God bring you to it through His grace and
blessing. Just some of this would be enough for renown in this world for someone who
would want that, and for loftiness in the hereafter for someone who has earned it. We ask
God that He guide us and you and that He grant us understanding in religion. He is
Magnanimous, Generous, Kind, Benevolent, and Merciful.

So, my brother and my dear one, may God bless you and may He strengthen you and
protect you. Listen to these words from me. Put them before your eyes and commit them
to memory. Know that if something within them disagrees with you somewhat, they are
actually good, by God; and perhaps you would not hear them from anyone except
someone who loves you, and perhaps you have needed someone to say them to you, and
you won’t find someone in your present position, except if God wills.

My dear brother, today you are a man of the public. You have attracted people’s
attention, and your actions, decisions, and behavior result in gains and losses that are not
yours alone, but rather they are for Islam, and [they affect] Islam, Muslims, and
especially the mujahidin, the faction waging jihad, on the ground today. This, even
though it may be a blessing from God in some ways, is a trial, a burden, and a great test
in other ways. God is testing you and burdening you, and you do not know whether you
will be saved or not. You are at great risk, for rightly guided people have often wanted to
get out of a test like this altogether!

My brother, you have been entrusted with this position (the position of leader of the
largest group of mujahidin on the ground today who are fighting the Americans and
spiting them), and this glory and reputation has happened to you. People have differed
regarding you, between lovers and haters, praisers and insulters; or, fanatics for one side
or another. You have ended up with a voice that reaches the enemies and the Muslim
nation. Your actions have come to impact the entire world, and they are monitored and
analyzed.
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It is hard for you, my brother, to bear the burden of this position and carry it out. Perhaps
you have been remiss in it, or been unable to do it. Perhaps you thought, because of some
influencing factors, that you are doing something good, while you are going afoul and
making mistakes in important and grave things sometimes. Because of this, corruption
and havoc, which God wouldn’t have intended, are taking place.

This is a matter that requires great perfection, which does not exist in any of our men
today. So, it is necessary to employ the principle of complementing deficits, which is the
basis of what I want to draw your attention to. It is necessary that you review this matter,
my brother, because general leadership of the Muslim nation and the position of guidance
bind you greatly. Indeed it is hard for the one who is higher than you. You cannot
handle it if you act alone and think that you can do it. Your assuming of responsibility
for it in such a manner bears difficulty and danger. Please consider this issue, because
your mistakes may grow numerous and you won’t be able to absorb people, govern them,
lead a community of people and populations, and guide them.

It is necessary, then, to perfect the deficits through people who help and the brothers who
consult and are supportive, and by going back to the leadership which is higher than you
and more capable, and so forth. You need to keep in mind that you are leader in the field
that is under a greater leadership that is more potent and more able to lead the Muslim
nation. You must leave some of your ideas or many of them to the advising brothers,
especially your leadership and those who came before you in this matter.

My dear brother, you are achieving successes and striking the enemies of God and hitting
and doing much, which is a good and great thing that we are not lowering at all and we
ask God to bless and increase, but this isn’t everything. The path is long and difficult, and
the enemy isn’t easy, for he is great and numerous and he can take quite a bit of
punishment as well. However, true victory is the triumph of principles and values, the
triumph of the call to Islam. True conquest is the conquest of the hearts of people, and the
regard for seeing the Treaty of Hudaybiyah as a victory.

Policy must be dominant over militarism. This is one of the pillars of war that is agreed
upon by all nations, whether they are Muslims or unbelievers. That is to say, that military
action is a servant to policy. We as people of Islam are people of policy, wisdom, reason,
and are good at applying its fundamentals of justice, mercy, good deeds, et cetera.

Our shari’a is the most perfect of the orthodox, merciful shari’as, praise be to God. Our
religious scholars said, “That which is absolute in its monotheism (perfection in
monotheism), is merciful in its shari’a tenets (ease, simplicity, clarity, practicality, and
other characteristics of it). Therefore, unless our military actions are servant to our
judicious shari’a policy, and unless our short-term goals and successes are servant to our
ultimate goal and highest aims, then they will be akin to exhaustion, strain, and illusion.
It will be a bit like the happiness of children over something at the beginning of the day,
which wears out by the end of the day and its evening! We ask God for security and
safety.
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Therefore, don’t be misled, my dear brother, by quick and incremental successes. Be
watchful of your mistakes, however small, for if mistakes pile up upon you, they will
destroy you. Don’t underestimate any shortcoming from any angle that comes over you,
but rather hasten to plug it and shore it up. You should be thinking about the
consequences while relying on God in all of this and while taking what is in shari’a
opinions.

I had previously talked with you and with many of the brothers about what happened in
Algeria, so do remember that. My brother, what use is it for us to delight in some
operations and successful strikes when the immediate repercussion is a defeat for us of
our call, and a loss of the justice of our cause and its logic in the minds of the masses who
make up the people of the Muslim nation, who are ignorant and simple, and upon whom
the afflictions of stultification, misguidance and corruption pile, and increased
domination by the enemies, more oppression, more humiliation visited upon us, and more
ills, troubles, loss in capabilities, and wasted opportunities?! We must take heed of this
and adopt all of the shari’a opinions and push ourselves to do this, for “the mujahid is he
who strives with his life for the cause of God,” as our Prophet said, peace be upon him.
Indeed, we will persevere in the jihad and the struggle against the enemies of God until
the last spark of life, and last drop of blood, God willing; whether we are successful in
Iraq, or not, or if we reach something, or not. However, it is shameful for us to waste the
opportunities that God has granted through our own negligence and carelessness and our
not adopting the [shari’a] opinions.

For, in terms of abiding by the [shari’a] opinions that the shari’a has advised to be
considered, and which experience and perception has shown to be a cause of attaining
what is desired, I say that dereliction and negligence in this is not permissible if the aim,
the desired goal, is a duty!! Therefore, our command here is the sum of two things: A
legal regulation from shari’a and monotheism, which means taking [shari’a] opinions and
reliance on God.

Yes, what you are in, is a matter that has taken you by surprise and happened to you
without any planning on your part, or seeking of honor or desire. Yes, that is true, and
God willing it is hoped that God the Generous, the Almighty will help you with it and not
weary you, but it is also incumbent on you to know your own capability and all our
capabilities and to take into account what you are capable of and able to do, and not to
rush into things or be hasty, since perhaps someone who rushes may end up late! All
right, then, what is to be done? What am I commanding you to do?

If you were to ask am I commanding you to abandon the matter that you are in? My
response: No, not necessarily, which means that it is not required, although it is a
possibility if you find at some point someone who is better and more suitable than you, as
I had previously advised you. Unless, something prevents that, such as weakness or fear
of some harm, or things of that nature, and that is something that you are more capable of
determining and evaluating. However, I order you, my brother, to remedy the deficiency,
as previously mentioned.
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As you know, this is the principle of legal powers in the shari’a: That proper fitness be
ordained, and if not possible, then that which is better should be sought as much as
possible; also, that the shortcoming of the one who is flawed be fixed with what
legitimate means and ways are possible. Therefore, it is incumbent on you to mend your
flaws in many things. It is not sufficient that you have with you a shari’a council and
groups of guys who lack expertise and experience, no matter who they are.

On the whole, I will advise you on a number of measures in this arena:

- That you abstain from making any decision on a comprehensive issue (one with a broad
reach), and on substantial matters until you have turned to your leadership; Shaykh
Usamah and the Doctor, and their brothers there, and consulted with them. Also, you
should consult with your mujahidin brothers who are with you in Iraq itself, such as our
brothers Ansar al-Sunnah and others, no matter how much you have to say about, or
reservations about, them, or some of them. An example of this is the issue of announcing
a war against the Shi’ite turncoats and killing them. Another is, expanding the arena of
the war to neighboring countries, and also undertaking some large-scale operations whose
impact is great and whose influence is pervasive, and things of that nature.

Furthermore, there should even be consultation with good people who are not mujahidin,
among which are the people of the country where you are, the Sunnis and the like; even if
they are religiously unorthodox at times, or even hypocritical, as long as they are
Muslims who agree with us in the resistance and jihad, not standing by the unbelievers.
An example would be many of the religious scholars and tribal leaders and so forth. This
is because consulting with them (and this does not necessarily mean accepting their
opinion every time, or even most of the time) and having them participate in the matter is
a wise policy that is supported by evidence from religious law, reason, history, and the
knowledge of nations and their experiences.

I will speak further about embracing the people and bringing them together and winning
them over and placating them and so forth, for this, my brother, is a great way towards
victory and triumph that is not lesser than military operations, but rather in truth is the
foundation while military operations must be a servant that is complementary to it.
Therefore, when you embrace the people and enjoin them through your morals, kind
words, your conduct and upbringing, you will have gained a greater means of victory
over your enemy, with God’s permission. If the people love you and are grand in their
love of you and affection, and God brings their hearts to you, then that is more successful
and helpful to your word, and more safeguarding of you against all harm that your enemy
is planning.

- I command you, my brother, and I am your brother and I have nothing except these
words that are between the two of us and God as the third party, that you send
messengers from your end to Waziristan so that they meet with the brothers of the
leadership, and the rational and experienced people and the shaykhs here, because you
have a greater chance to send messengers (brothers that you choose) than your brothers
have here. God willing, you have the ability to enlist guys and men who have not been
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exposed, and who can move about and carry messages and convey responses to you and
such.

Just make this one of your most important priorities and be serious about it and strive for
it, and may God make it easier for you. I am going to say something to you that may
seem to you like an exaggeration, but you should think about it: Readying the brothers
and mobilizing them and preparing them to be messengers between you and the
leadership here is more important than preparing and sending the brothers for some
operations like the recent operation of the hotels in Amman!

Truly, I am not joking, but the significance of your correspondence with your brothers
here, and continued mutual discourse and consultation, as well as going along with them
in well-laid plans, and mutual understanding, harmonizing, and guidance, are more
important than many of the large scale operations. So strive, my brother, God bless you,
and send your men so that they can bring you instructions, advice, ideas, suggestions,
consultation, criticism, and mature opinion from your brothers.

I am now on a visit to them and I am writing you this letter as I am with them, and they
have some comments about some of your circumstances, may God guide you, with due
confidence, affection, respect, and esteem. They wish that they had a way to talk to you
and advise you, and to guide and instruct you; however, they too are occupied with
vicious enemies here. They are also weak, and we ask God that He strengthen them and
mend their fractures. They have many of their own problems, but they are people of
reason, experience, and sound, beneficial knowledge. I saw that their opinion centered on
a group of observations and instructions, of which you will find a summary in the
Doctor’s message that the Americans published. It is a genuine letter and it represents the
thoughts of the brothers, the shaykhs, and all of the intellectual and moral leadership
here. Please meditate closely on it, focus thoroughly on all of its ideas, apply what you
can from it, and make them part of yourself. You should leave the path of excuses and of
starting differences. This letter represents the majority of, and a synopsis of, what the
brothers want to say to you, especially in the following areas:
- Winning over the people, bringing them close, being cautious about alienating them,
befriending them, helping them, accepting their foibles (which means [accepting] what
they possess, including strength, weakness, propriety, impropriety, goodness, and ill;
which doesn’t negate the continuation of guiding them towards goodness and
betterment), molding them, gaining their sympathy at all their levels and ranks, using the
utmost caution to not be harsh with them or degrade them or frighten them or be hasty in
judging them or even be hasty in reforming them in a way that they might not
comprehend, which might cause them provocation, wherein they would turn on us and
you with hostile animosity. However, [you should do this] with gentleness, gradual open-
mindedness, while overlooking and being quiet about many of their mistakes and flaws,
and while tolerating a great deal of harm from them for the sake of not having them turn
away and turn into enemies on any level.

- Paying attention to the class of religious scholars and shaykhs in Iraq in particular, and
in the world as a whole, and respecting them as a whole, and not opposing any of them,
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no matter what, and no matter what errors they made in shaping the hearts of the public,
until such time as God opens the way. At that time, we will have another message. All
except for situations that are particular, specific, and very narrow, in which the
theologian’s deviation is very clear, such as that of Sayyid Tantawi, or the evil ‘Ubaykan,
for example. [This should be the tack taken] even though we could get by without talking
with any one of them, because shari’a policy sets this [tack] for us and confirms it for us.
The long and short of the matter is that the Islamic theologians are the keys to the Muslim
community and they are its leaders. This is the way it is, whether you like it or not. Thus,
we address them with utmost kindness in word and speech, and we demonstrate respect
and reverence for them in phrasing, in order to be harmony with them and with the public
behind them, which are the masses of the Muslim nation. Therefore, if you appear before
the community in the guise of a pariah to the class of religious scholars, contradicting
them, disrespecting them, and insulting them, then you will lose the people and you will
fail in any call [to religion] or political act.

For this reason, we should win them over by keeping quiet, overlooking things, and
saying nice things, in spite of disagreement with them in most things both theoretical and
practical. This involves trying to contact the rightly guided religious scholars and those
with good in them, even if it involves humoring them a bit, harmonizing with them,
consulting them, asking them questions, and win them over in Iraq, in the [Arabian]
Peninsula, and elsewhere. It also includes praising them and urging them to fulfill the
obligation to help and wage jihad, and to command [that which is right], and forbid [that
which is wrong], and to carry the mantle of this religion. It also includes lauding them
for the good they do, and being quiet about their shortcomings.

Since this is necessary, it is highly advisable to be polite and to show complete respect,
regret, compassion, and mercy and so forth. You must incline yourself to this, and be
humble to the believers, and smile in people’s faces, even if you are cursing them in your
heart, even if it has been said that they are “a bad tribal brother,” and what have you.

Among the most crucial of things involved is exercising all caution against attempting to
kill any religious scholar or tribal leader who is obeyed, and of good repute in Iraq from
among the Sunnis, no matter what. Instead, we should confront anyone evil by many
other means of discourse and fervor of speech, and such, and with a bit of wisdom,
patience, and deliberateness. We should continue in our jihad, and when God opens the
way, and we have the wherewithal, then we can behave differently in accordance with
what is appropriate for that time. Perhaps it will be he, himself (the one who was your
enemy) who will come to you humbled, belittled, apologizing, frightened, cowering as he
asks for forgiveness. Then, God will spare you any act that has a bad end, and you will
have the deciding hand, and there will be other modes, the highest of which is
forgiveness and good deeds, and the very least of which is justice.

- The other matter is to take caution against being zealous about the name “al-Qa’ida”, or
any name or organization. Although all mujahidin are our brothers, the Sunni are our
brothers and our friends, as long as they are Muslims, even if they are disobedient, or
insolent; whether they come into the organization with us or not, for they are our
brothers, our friends, and our loved ones. We should cooperate with them, help and
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support them, and work together. Besides, how do you know you won’t be humbled
tomorrow, while they will be strengthened? You may diminish while they increase! You
draw your strength from God first, and from your brothers second. It is by God’s grace
that people’s hearts are with you. Otherwise, many people will have waged jihad before
you and attained more than you will have gained.

Ask me whatever you like about Algeria between 1994 and 1995, when [the movement]
was at the height of its power and capabilities, and was on the verge of taking over the
government. The government was on the verge of a downfall at any moment. I lived
through that myself, and I saw first hand; no one told me about it. However, they
destroyed themselves with their own hands, with their lack of reason, delusions, their
ignoring of people, their alienation of them through oppression, deviance, and severity,
coupled with a lack of kindness, sympathy, and friendliness. Their enemy did not defeat
them, but rather they defeated themselves, were consumed and fell. God reigns as He
commands, as the Almighty, and He controls the matter from beginning to end.

It wouldn’t hurt, indeed it is a desired gesture, for advice to the effect that they unite with
us or enter al-Qa’ida and go under Shaykh Usamah to continue to go from us to our
brothers in the form of guidance, debate, and discussion between the brothers and loved
ones in order to reach what is preferred, and proper, and the best of all. However, there
should not be bias or injustice, or animosity or oppression, but rather it should be through
sincere advice, discussion, courtesy, and good dialogue about knowledge, jurisprudence,
and opinion, with complete civility and maintaining rights. After all, if your brother does
not end up convinced and does not agree with you, he is still your brother and your
friend. It would be a dispute between your and him, which does not require hatred,
clashing, hostility, or enmity. It is, rather, of the sort of dispute of the companions [of the
prophet] within the branches of shari’a and in the understanding of legal judgments,
indeed even in some conceptions and beliefs; even while maintaining fraternity,
friendship, affection, mutual respect, amity, mutual sympathy, etc.

These were the most important critical points as they come to me now. I will now
enumerate for you all of the various fragments of advice and thoughts. I hope God makes
us, as well as you, beneficial through them:

Brother Abu-Musa’b, may God protect and guide you. Bless you, my brother. Know
that we, like all the mujahidin, are still weak. We are in the stage of weakness and a state
of paucity. We have not yet reached a level of stability. We have no alternative but to
not squander any element of the foundations of strength, or any helper or supporter. We
are unceasing in our efforts to unite our nation’s strength and resources.

Yes, we do have some strength, thanks to God, of the type that our enemy does not have,
faith in God Almighty, ideology, absolute monotheism, reliance upon God Almighty, et
cetera, as well as the righteousness of the cause, brotherhood, connectedness, and many
other things from among the elements of strength.

Among these, meaning the elements, is the fact that our strength lies in our weakness and
determination, being as we are a part of this great nation, the nation of Muhammad,
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whom God has blessed, and being as the Muslim nation is with us, loving us, harboring
us, supporting us, sympathizing with us, and concurring with us. Also among these, are
our mettle and the mettle of our soldiers, which are the waters that our fish inhabits. So
on, and so forth of that which is obvious. So, if we waste this great foundation, then we
would be remiss, profligate, and liable to fail.

Thanks to God, there is plenty of good, my brother. Our jihadi ranks and you and your
brothers are good, God willing. However, do not act alone and do not be overzealous.
Beware of becoming arrogant because of people’s praise, or because of their pressure
upon you to constantly act. Instead, you have to complement your shortcomings by
consultation and queries with your brothers. Do not be hasty in reforming and mending
the Muslim nation. Do not rush victory over the enemy, for the war and our journey are
truly long. The important thing is to keep your reputation and that of the mujahidin pure,
especially your organization, and to gain peoples’ affection and love, and to strive for it.
Of course, this is subject to the limits of our shari’a. Thanks to God, what our shari’a
allows is a wide scope, including keeping quite and looking the other way until you have
total power and control, as I said before. In summary, this is the correct Islamic
jurisprudence that is very important for a person to learn. Among its lessons are when we
ought to speak and when silence is better; what we should say in every situation, position,
and stage, what issues we should lay on people and what we should postpone, and so
forth.

You need to preserve the integrity of the ranks of the mujahidin, irrespective of
organization and designation, and you must preserve the fraternity, solidarity, harmony,
and mutual support. The most important thing, my dear brother, is that your inner rank
must be closely knit and solid. Its foundation must be of affection, respect, and absolute,
true sympathy. When I say “your ranks”, it is all of the mujahidin and the general public
(Sunnis) around you who are your ranks. I don’t just mean the rank of fighters and the
elite who are officially with you. This is the most important thing. You should be patient
and forbearing, and stand firm, and we are with you with all that we possess, and God is
with us. I swear, I wish that I could fly now and be with you, but God help us, and it is
unto Him that we complain. Perhaps God will facilitate things, who knows? For this is
definitely something desirable, and we ask God that he make it easier for us to be with
you, at your side, helping you with all that we have of opinions, knowledge, and
experience.

I say: the most important thing is that you be patient, forbearing, and persevere until the
final moment, for indeed your enemy is also patient and he is betting that there will be a
moment in which you are weak, that you fail and fall apart internally, may God not make
this His judgment. Therefore, seek aid in God and frustrate your enemies and achieve the
hope of your loved ones and friends. Be as God the Almighty said, “Humble towards the
believers, mighty against the disbelievers.”. But gently, gently, remember what the
prophet, peace be upon him, said on the authority of ‘Ali, “Penetrate [the enemy] through
your messengers.” There is a meaning in there, if you ruminate on it!

This is also the way it is in what pertains to the faith and the bringing of people to it, so
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do not be hasty in this; I mean in giving out lessons to them, and in the issues that are laid
upon the community and the way that they are delivered. I will tell you something, my
dear brother: It is true that the community needs someone to elucidate the particulars of
the victorious faith for it, and to incite it to fight the enemies of God, and to explain the
principle of fealty and absolution and judgment and some of the tenets of identifying
unbelievers, and to show them the demonic apostates and incite them against them, and
things of that nature. Praise be to God, this has begun to spread and broad segments of
the people of knowledge, religion, and jihad are participating in this, and the knowledge
is useful, sound, and necessary.

However, the community also needs a great deal of other concepts for a comprehensive,
complete view of Islam to become integrated in the community and its consciousness. It
needs the values of mercy, justice, and good deeds, and it needs the goodness of Islam
and its comprehensive concepts of life to be illuminated. It has something it needs from
us, we who embarked on the war and the fighting and have come to be in a struggle over
possession and the leadership of the community. I say that it needs to see in us that
which will make it love us, and will make it soften its hearts and sympathize with us, and
which will fill it with affection, trust, and reassurance towards us. The community needs
good words from us, and needs to be convinced that we have empathy with it and mercy
towards it, and not feel that we are oppressors or haughty or violent! So, if the collective
voice of the community were to say to us, “what you want is to be a tyrant on the earth
and you don’t want to be among the peacemakers,” then this harms us and sours the
hearts of the people towards us and pushes them away from us, or at least makes them
feel negatively towards us.

Additionally, our cohort, which is the cohort of mujahidin, needs nurturing, discipline,
continuous guidance, and abandoning temptations like injustice, arrogance, conceit,
haughtiness, superciliousness, excessive harshness and violence, impoliteness with
people, especially those who disagree, and the like. These are some of our ills, and many
of us are asking God to reform us. Our cohort needs to be educated in fairness, creating
balance between severity and softness, between violence and gentleness, and between
mercy and harshness.

Let us not merely be people of killing, slaughter, blood, cursing, insult, and harshness;
but rather, people of this, who are unopposed to mercy and gentleness. Let us put
everything in perspective. Let our mercy overcome our anger and precede it. We need to
give our followers and our coming young meanings that have balance, completeness, and
moderation in ethics and concepts. It is wisdom and perfection, my dear brother, to
combine several things, especially for those of us who are looked up to, such as your
elevated position; may God advance your rank among his virtuous worshipers, Amen.

You are a political leader, a chief, and an administrator, especially in your own
surroundings. You have other jobs and great missions. The most important thing is for
you to be a successful leader to the mujahidin, and then, to practice what is available to
you, and what is within your ability, in terms of moral and ethical leadership, for the
benefit of the Muslim nation.
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Regarding whatever issues you cannot solve, and whatever issue your brothers oppose
you in, you should be patient and not rush in forming an opinion until you consult with
your leadership and your brothers who supercede you in knowledge, grace, and
experience. When you are loved, a few words are all you need. These nice, easy, and
simple words, which are uncomplicated, accomplish what books and thousands of tapes
from someone else would not. However, the crucial matter is that you be loved in the
Muslim nation when you enter the hearts of the entire Muslim nation; then, your word
will combine with your determination, your great works, and your ravaging of the enemy
of Almighty God.

One of your important jobs is to bring closer together the people of scholarship and the
people of jihad in all sectors of Muslims. By that I mean the good people of scholarship,
the people of good works who work hard for God, even if they disagree with us or if we
disagree with them in some or many issues, opinions, and positions such as a position
regarding a certain government or another, and such; exactly as I said regarding the
people of jihad, the people of jihad who are virtuous, truthful, and disciplined towards the
shari’a of the Lord of the two realms.

One of your important jobs is to educate our jihadi cohort in good conduct, by providing
them with a good model in manners, respect, modesty, the giving of advice, accepting
advice, admitting mistakes, respecting others, proficiency in dialogue, politeness with
those who disagree, mercy, justice, kindness, et cetera. These are the good qualities that
are required, and from which our jihadi cohort is suffering a deficiency, as professed by
all of our brothers who are shaykhs among the mujahidin and their leaders. As
mentioned, we need to make a great effort to educate and guide our cohort, because there
are within our mujahidin cohort a lot of bad qualities that need to be treated.

For a man like you, in your position, this must be one of his missions and priorities. Of
course, all of this goes hand in hand with your definite missions in terms of military and
combat effort, political effort, and social effort in co-opting people, harmonizing with
them, perfecting relations with them, and, at a minimum, avoiding those who cannot be
co-opted, and so on. God willing, you are worth such goodness, just place in your focus
and make it among your greatest priorities, and consult and ask and rely upon God.

It is clear, dear one, that your deeds and tasks are many and great. We ask God on our
behalf and yours for aid and direction. Your success in your field projects success onto
our plan, and to us as the faction waging jihad in general. If you suffer defeat, and if
mistakes occur, then we all bear its consequence as well.

My dear brother, there must be attention paid to raising the mujahidin through continuous
modification and not being quiet about our mistakes, especially the exorbitant mistakes.
Indeed, it is necessary to try rapidly to treat them and rectify them. The leader is
obligated to engage in complete and strong guardianship over his subordinates by
commanding that which is right and forbidding the wrong and enforcing upon the hands
of the negligent, the corrupt and the derelict that this is serious and not something to be
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done through play nor through chaos. If it is not in our power to right ourselves, reform
ourselves, and bring ourselves to what is best, righteous, and proper, then how can we
aspire to reform the Muslim nation?!

Thus anyone who commits tyranny and aggression upon the people, and causes
corruption within the land and drives people away from us and our faith and our jihad and
from the religion and the message that we carry, then he must be taken to task, and we
must direct him to what is right, just, and for the best. Otherwise, we would have to push
him aside and keep him away from the sphere of influence and replace him and so forth,
for this is an important matter.

You need to look deeply within yourself and your character, and don’t let your
subordinates, close ones, the ones who praise you, and those who raise your esteem and
those who extol your greatness dominate, but rather you should know that the one who is
strict with you, advises you, though it may be loathsome, is the one who is truly your
friend. He who gives you sincere advice and doesn’t flatter you, is the one whom you will
find beside you in times of hardship. God willing, you shouldn’t need such experiences.
May you also not miss out on perceiving the signs of such a path.

Please know that you need each one, each in accordance with his ability and his capacity,
and in accordance with his position and capability, so don’t ignore anyone and don’t
dismiss anyone no matter how weak or small. Rather, you should pay attention to all the
people, especially their weak ones, and urge them to advise you and assist you. Show
them your need for them and their solidarity with you, so that they will love you and so
that God grants you benefit through them. This is one of the means of winning over the
people and bringing them in and gaining their hearts. It is the path of consulting with
them, and paying attention to them, and even involving them in something sometimes,
and making it clear that we can’t do without their help and that we are stronger with
them, with God’s permission, and that a brother is strong through his brother, and things
of that nature.

So, strive in this, my brother, with all of the people around you who are Sunnis, even
with the derelict ones and those who are not without sin or immorality, as long as they are
prominent individuals and influential in their communities; indeed even the ones who are
hypocrites. Strive for this and put yourself to the task and don’t ignore it, so that you
may co-opt people and capture their hearts, or at least so that you could make them
neutral and eliminate the vehemence of their hostility and enmity towards you, and so
forth. The people are of various ranks, and our dealings with them should be in
accordance with these ranks, of course.

Everything that I have said in this vein does not contradict the fact that we should
continuously persevere in calling the people to what is best and advise them and order
them and enjoin them and forbid them and lead them to what is best and right. However,
as I said, it must be on the basis of friendship, by degrees, and with guidance in
accordance with what our pure Law indicates. Thus, as I previously mentioned, there is
no harm in a certain amount of keeping quiet, overlooking things, forgiving, and
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reserving things to a time of an end to weakness and the attainment of complete authority
or something close to it; otherwise there would occur a greater harm than what we are
striving to eliminate!

Allow me to make an analogy for you:

You, for example, have in the field factions of people (here I mean Sunnis), and they are
of degrees that no one but the Almighty who created them knows in terms of
righteousness, and depravity, good and evil, and proximity to what is right and distance
from it. If you were to demand a person who is refined, immaculate, and well mannered,
you would only find a measly few. If you were hostile to and argued and pushed away
everyone who didn’t please you, then most people would shun you, be hostile towards
you, argue with you and try to make war on you as well, and they would turn towards
your enemy. They may fear you today because you are strong; you terrify them and alarm
them, but if you were weakened and they saw weakness from you, then they would seek
to expose that and they would be against you! May God not determine that this should
happen to you or us.

What you have, for example, are the Muslim brothers in their levels as well, and you
have the council of Muslim religious scholars with its mixture and permutations, and you
have distinguished men of the community, clans, and tribes, and you have all of this, and
you then you have the people in their various classes.

Therefore, you, as a leader and a jihadist political organization who wants to destroy a
power and a state and erect on its rubble an Islamic state, or at least form the building
block on the right path towards that, need all of these people; and it is imperative for
someone like this to get along with everyone in various degrees as well, for the brothers
are of varying calibers, in my belief.

So, we may skip over the traitor Muhsin ‘Abd-al-Hamid and others like him, since they
have obviously become unbelievers and heretics, may God save us from that, and since
from the aspect of shari’a, their status is clear and apparent, and from the aspect of
politics, their treachery appeared before the people as did their loyalty to the apostate
state and the evil of their position, such that their enmity does not hurt but benefits us;
although it is not appropriate to turn towards killing or fighting them now and it is not
good, indeed harmful, as God knows best.

However, whoever belongs to the brothers from other sects and many different people,
like some of the people of Harith al-Dari and those who work with the council and others,
those are people we should get along with, and we shouldn’t consider them like the
previous ones, rather we should treat them better and accept their good points and call
them to what is best, to relinquish their mistakes and corruption and so forth. We should
praise them for the good they have and converse with them with knowledge, justice, and
politeness.

You also have the tribal leaders and the likes from the upper echelons of society, and they
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are of different levels as well, so the good among them who is close, we should consult
them in some of our matters and give them value and give them some praise and involve
them in some matters and vest them with some things because they love prestige. In this
way we should try not to cause them to believe that we are going over their heads or
infringing upon them in political and social leadership, or that we are overstepping them
and not considering them and not giving them value and not taking them into account.
Rather, we should make them feel that we want to work with them to establish the
religion, liberate the country and the servants, establish the Islamic state and the rule of
the shari’a of God, et cetera; and that, in our opinion, they have a large role to play, as we
need every Muslim and everyone of us at the right time.

In the meantime, we should call them to commit to the shari’a and to all that is best and
of merit, and we should advise them against what is wrong and from all bad deeds, and
we should try to perfect them and encourage them. Whenever the people feel that we
value them and appreciate their efforts and that we respect them and want the best for
them and that we sympathize with them, this is what will draw their hearts to us, just as
there are people we bring close through gift giving and money, but that is another matter.
So, what is meant here is that it is possible that we could embrace, encompass, and win
over many of the factions of the people into our ranks with a kind word and acts of
goodness that are very simple.

We warn against all acts that alienate, from killing to any sort of other treatment. Even
insofar as the corrupt ones and traitors from among the Sunnis, we shouldn’t kill them
unless the people would understand and think that it was a good thing due to the
obviousness of their corruption, their treason, and their evil. However, if we come and
kill some people whom we know to be corrupt and treasonous, but who are respected and
beloved by the people, then this leads to great trouble and it is an act against all of the
fundamentals of politics and leadership. So be warned of that, my dear brother, as God
knows best and is wiser.

Concerning foreign activities, my brother, that is to say, outside of the Iraq arena, I would
advise you not to expand that way until you have reviewed it with the brothers, and their
collusion in such a thing. This is the opinion of the brothers here. They have some ideas
and conceptions that they want to convey to you about this topic. They want to make
arrangements with you regarding it. If only you could do your utmost to forge quick lines
of communication with them to coordinate on it. Strive, may God bless you, to avoid
repeating the mistake of lack of precision in execution, like what happened in Jordan.
God determines all things, and He does as He wills. We ask God that He mend the rift
and that He protect from the error and misjudgment, and that He make the outcome of
what happened favorable for Islam and its people.

The most important thing is that you continue in your jihad in Iraq, and that you be
patient and forbearing, even in weakness, and even with fewer operations; even if each
day had half of the number of current daily operations, that is not a problem, or even less
than that. So, do not be hasty. The most important thing is that the jihad continues with
steadfastness and firm rooting, and that it grows in terms of supporters, strength, clarity
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of justification, and visible proof each day. Indeed, prolonging the war is in our interest,
with God’s permission. The best acts are those that last, however few they may be,
provided that we guard against mistakes building up and that we have integration in the
jihadist enterprise. The only thing that you have to fear is yourselves and your own
mistakes, not your enemy. By God, your enemy will never defeat you as long as you are
patient and steadfast, not having caused damage that is great or frequent; and you seek
help in God. It is the grace of God and the grace of the Supporter, and the Almighty will
not neglect us. “Now surely the help of God is nigh”.

My dear, beloved, faithful brother waging jihad, may God protect you and watch over
you and support you and strengthen you. Here I have come to a close concerning what
ideas and advice had come to me at this time. I am sorry for going a bit long on you, and
for some repetition. Where I was correct, that was from God, and where I made mistakes,
that is from the devil and me, and God and His messenger are innocent of that. All I want
is to improve what I could. I have no success other than through God, upon Whom I rely
and act on behalf of. There is no god other than Him, nor Lord besides Him. There is no
power and no strength save in Him, the Almighty. Pardon me if the pen made a mistake,
or a thought went awry, or a word slipped that was inappropriate, for I swear that I only
wanted to perfect you and to advise you and the Muslims, for all of us are responsible.

Forgive us also if our conception of your situation there and your circumstances is
lacking and unclear, for this is possible and not unlikely, especially with the disruption
that exists and the loss of communications. We advise you to maintain reliable and quick
contact, with all the power you can muster. I am ready to communicate via the Internet or
any other means, so send me your men to ask for me on the chat forum of Ana al-
Muslim, or others. The password between us is that thing that you brought to me a long
time ago from Herat. Then, after that, we would agree with them about e-mails, or you
should instruct your men who are in the country that I live in to develop communications
with us. We are ready to write to you and to consult with you regarding opinions anytime
directly. “By the time, Surely man is at a loss, Except for those who believe and do good,
and exhort one another to Truth, and exhort one another to patience.”

I give you my regards again and once more, and also to all the noble loved ones who are
with you.

I send you the regards of Abu-Layth, Abu-Sahl, al-Hubayb, al-Muhajir, and all of the
brothers here.

I ask God the Almighty that He make you a rightly guided guide.

We ask God that He protect you and facilitate your affairs and ours, and that He relieve
the anxieties and grant victory soon. We ask God that He strengthen you and fortify you
and support you with that which He has, as He is the firm Provider Who has power,
amen.

Goodbye and God bless you.
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Your brother, ‘Atiyah.
  th
10 of Dhu Qa’dah, 1426.

TRANSLATION ENDS
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                      FN 34
         Letter from Osama bin Laden to
             “Karim” (Oct. 18, 2007)
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In the name of God the merciful and compassionate

Thanks to God, for he promised and delivered, threatened and
forgave prayers and peace be upon our master and master of all
nobles Muhammad, his family, and his followers the perfect
nobles.

Honorable brother Karim, may God protect him. Peace and mercy of
God may be upon you. Hope you and all who are with you are in a
good cheer, and for God to bring us all together to achieve his
will on earth and to win the afterlife.

1- I received your honorable message that was ended abruptly
without an ending, signature, and date. I wonder what the cause
was for this error; but thank God for including the good news
and glad tidings. I ask God to grant us speedy victory and
empowerment.

2- I have a few remarks concerning the matter of your threats to
Iran, and I hope that you and your brothers will accommodate it:

A- You did not consult with us on that serious issue that
affects the general welfare of all of us. We expected you would
consult with us for these important matters, for as you are
aware, Iran is our main artery for funds, personnel, and
communication, as well as the matter of hostages.

B- I don’t understand why you have announced your threats. You
could have executed without being threatening; for threats are a
tough test for your ability to deliver. And now, the passing of
the grace period without carrying out your threats effects the
believability of your words, and your threats will be
meaningless. I am not trying to provoke you to carry out your
threats. On the contrary, I am against being threatening,
period. However, I am discussing the matter of “threat
announcing” for it is politically a losing proposition for you.

G- Another matter that I need you to discuss with your brothers,
which is the information received indicating that some of the
individuals that you are depending on to carry out the threats
are not organized or infiltrated. So please re-evaluate the
matter.
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D- The summary of my opinion on the subject is:

1- There is no need to fight with Iran, unless you are forced to



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because of the great harm caused by them, and unless you are
able to inflect them with harm. Hence, if you are not in the
position to deliver either, then my advice is to refrain from
attacking them; and devote your total resource to the
fortification of the nation, and the fight against the crusaders
and the apostates. It is also my opinion about the other fronts
such as Lebanon and the likes.

2- If you decide on confronting Iran and feel you are able to
hurt them, it is my opinion that you do not announce your
intentions and threats, instead deliver your strikes in silence,
leaving indications or announce that you are responsible for the
act, and to protect your reputation in case your plans were not
successful. Bear in mind that the negotiation with Iran is
easier if the incurred damages are great. This is my opinion and
God knows the correct course of action.

3- Another issue that is closely related to the previous one’ is
the taking of Iranian hostages for negotiation. I suggest
starting the negation on exchanging the person that I have asked
to receive the file on his statements, which I have not received
yet, or any other person, for our captives, specifically the
ones sentenced to death or to a long term incarceration in their
countries.

4- Regarding the issue of not attacking the dissenter by her
name; the issue is under discussion among the brethren and I,
and my position is the collective decision for the group and not
just my own. We associated the matter with receiving hostages
from them for it will give us great latitude in confronting
them. In general the discussion is still progressively ongoing.

The other issue is the attack on my brothers with Abu al-
((Yazid)), and with you. These statements represent and bind us.
Hence I was not tasked with it, but it is the opinion of the
brothers that I handle the matter indirectly observing the
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developments. That was the collective opinion of your brothers,
and God knows what’s right.

5- Regarding Turkey; it is my opinion that our work in Turkey
not be tied to the reactions to our works, but is based on the
situations advantages and disadvantages, hence I suggest the
suppression of activities unless there is a chance for a large
operation against the Jews or the Crusaders, and only after your
determination of the advantages and disadvantages. And perhaps
the deterioration between them and Kurdistan is beneficial to
you, God knows.

6- Regarding sending you brothers; the problem is the road.

7- Hajji Harun said he has reached an agreement with you to work
in your two countries. Please provide me with the details of the
agreement, for I need to understand it, and God bless you.

8- Lastly, I leave you in the custody of God. Destroy this
message after reading, peace, your loving brother.



18 October 2007
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                       FN 42
Federal Bureau of Investigation wanted poster for
          Abd al-Rahman al-Maghrebi
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ABD AL RAHMAN AL MAGHREBI




                                                                   DESCRIPTION
Aliases: Muhammed Abaytah, Muhammad Abbatay, Abd al Rahman al Maghribi, Abdel Rahman al-Maghrib
Date(s) of Birth Used: Approximately 1970 to 1971                               Place of Birth: Morocco
Hair: Dark                                                                      Height: Approximately 5’8” or 1.72 meters
Complexion: Light to medium                                                     Sex: Male
Nationality: Moroccan                                                           Languages: Arabic, French, German

                                                                       REWARD
The Rewards For Justice Program, United States Department of State, is offering a reward of up to $7 million for information leading to the location of
Abd al Rahman al Maghrebi.


                                                                      REMARKS
Al Maghrebi may have facial hair to include a beard and mustache. He can be associated with the following countries: Morocco, Germany, Pakistan, Afghanistan,
and Iran.


                                                                       DETAILS
Abd al Rahman al Maghrebi, a Moroccan born national, is wanted for questioning in connection with his membership in Al Qaeda, an organization known for
committing acts of terrorism against the United States. Al Maghrebi reportedly studied software programming in Germany before travelling to Afghanistan where
he was selected to manage Al Sahab, Al Qaeda’s primary media wing. Following the events of September 11, 2001, Al Maghrebi fled to Iran and possibly travels
between Iran and Pakistan. The son-in-law of Al Qaeda's current emir, Ayman Al-Zawahiri, Al Maghrebi has been designated by the United States Government
as a senior leader of Al Qaeda.



If you have any information concerning this person, please contact your local FBI office or the nearest American Embassy or Consulate.

Field Offices: New York, Washington D.C.
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                      FN 55
    Press Release, U.S. Department of the
  Treasury, “Treasury Designates Individuals
        with Ties to Al Qaida, Former
            Regime” (Dec. 7, 2007)
9/18/23, 6:16 PM    Case 1:20-cv-03859-JEB          Document
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    U.S. DEPARTMENT OF THE TREASURY

    Treasury Designates Individuals with Ties to Al Qaida, Former
    Regime

    December 7, 2007


    (Archived Content)



    Washington , DC --The U.S. Department of the Treasury today designated seven individuals
    with ties to the Iraqi insurgency and the former Iraqi regime. One individual was designated for
    providing financial and material support to Al-Qaeda in Iraq (AQI) and the six other individuals
    were designated as senior officials of the former Iraqi regime or their immediate family
    members, some of whom provided financial and material support to Iraq insurgents.

    The United States is acting today against former regime elements and others supporting the
    Iraqi insurgency out of Syria, said Stuart Levey, Under Secretary for Terrorism and Financial
    Intelligence. Syria must take action to deny safe haven to those supporting violence from
    within its borders.

    Fawzi Mutlaq Al-Rawi was designated pursuant to Executive Order 13224, which is aimed at
    terrorists and those providing them with financial and other support. The other six individuals
    were designated pursuant to Executive Order 13315, which targets senior officials of the former
    Iraqi regime or their immediate family members.

    Designations under E.O. 13224 and E.O. 13315 are implemented by Treasury's Office of Foreign
    Assets Control, and prohibit all transactions between the designees and any U.S. person and
    freeze any assets the designees may have under U.S. jurisdiction.

    Identifying Information

    Fawzi Mutlaq Al-Rawi
    AKAs:
    AL-RAWI, Fawzi Isma'il Al-Husayni
    ABU FIRAS
    ABU AKRAM

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    Title:
    Chairman of the Iraqi Wing of the Syrian Ba'th Party
    DOB:
    1940
    POB:
    Rawah City, Iraq
    Nationality:
    Iraqi
    Citizenship:
    Syrian
    Location:
    Damascus, Syria
    Address:
    Syrian Government-owned apartment, Al-Mazzah district, Damascus, as of several years ago
    Office Location:
    Syrian Ba'th Party Command Building, Al-Halbuni district, Damascus, as of several years ago

    Fawzi Mutlaq Al-Rawi, the leader of the Iraqi wing of the Syrian Ba'th Party, was designated
    under E.O. 13224 for providing financial and material support to AQI.

    Al-Rawi in November 2005 facilitated the provision of $300,000 to members of AQI. In addition,
    he provided AQI with vehicle-borne improvised explosive devices, rifles, and suic ide bombers
    at the request of a senior AQI leader in Iraq. Al-Rawi and that same leader in September 2005
    attended a meeting in Ar Ramadi, Iraq, with other senior AQI representatives where they
    discussed financing, unifying AQI forces, conducting airborne improvised explosive device
    attacks against the U.S. Embassy, and concentrating attacks against the international zone.

    As of March 2005, Al-Rawi was present at regular meetings to plan funding for Muhammad Yunis
    Ahmad's network in Iraq. Ahmad, who was designated pursuant to E.O. 13315 in June 2005 and
    named on the United Nations Security Council Resolution 1483 list, has provided guidance,
    financial support, and coordination for insurgent attacks throughout Iraq. Al-Rawi also ran a
    charity organization which was actually a front for funding the network. As of December 2006,
    Al-Rawi continued to support AQI, meeting regularly with a senior member of the organization
    to discuss funding and to plan future operations in Iraq.

    Al-Rawi was appointed leader of the Iraqi wing of the Syrian Ba'th Party by Syrian President
    Bashar Al-Asad in 2003. The Iraqi wing of the Syrian Ba'th Party has since provided significant
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    funding to Iraqi insurgents at Al-Rawi's direction. Al-Rawi is supported financially by the Syrian
    Government, and has close ties to Syrian Intelligence. He has met with Syrian Intelligence
    Director Asif Shawkat, and has received financial support directly from Dhu al-Himma al-
    Shalish, former Chief of Asad's Presidential Security Guard. Shawkat was named a Specially
    Designated National pursuant to E.O. 13338 on January 18, 2006 for directly furthering the
    Government of Syria's support for terrorism and interference in the sovereignty of Lebanon.
    Shalish was named a Specially Designated National pursuant to E.O. 13315 in June 2005 for
    acting on behalf of Saddam Hussein's former regime.

    Under the authorization of the Syrian government, Al-Rawi in 2004 met twice with a former
    commander of Saddam Hussein's Army of Muhammad – a militant group formed by Saddam
    Hussein to fight against Coalition forces in Iraq. Al-Rawi reportedly informed the commander
    that the Army of Muhammad would receive material aid from Syria in the form of goods given to
    the Army for resale in Iraq rather than money, due to international concerns that Syria was
    supporting terrorism and the resistance in Iraq.

    Hasan Hashim Khalaf Al-Dulaymi
    AKA:
    WISSAM, Abu
    DOB:
    1942
    POB:
    Baghdad, Iraq
    Nationality:
    Iraqi
    Address:
    30th Street, Al-Yarmuk Area of Jadat Al-Jaysh District of Damascus, Syria
    Alt Address:
    House #43, Lane #17, Subdivision #808, Al-Dawrah, Baghdad, Iraq

    Hasan Hashim Al-Dulaymi was designated under E.O. 13315 as a senior official of the former
    Iraqi regime. In 2005, Al-Dulaymi was a deputy of Syria-based Muhammad Yunis Ahmad, a
    financial facilitator and operational leader who helped reconstitute the Iraqi Ba'th Party. In late
    2004, Al-Dulaymi served as a principal assistant to Izzat Ibrahim al-Duri and visited Baghdad to
    coordinate insurgent activities. Additionally, Al-Dulaymi directed an anti-coalition cell in
    Baghdad in late 2003.

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    In addition, Al-Dulaymi, who operates out of Syria and Iraq, has been an active member of the
    Iraqi Ba'th Party and served as the Ba'th Party Treasury Secretary under Saddam Hussein's
    regime. The Central Criminal Court of Iraq in July 2006 named Al-Dulaymi on their list of 41
    most-wanted individuals and issued a warrant for his arrest. Currently, Al-Dulaymi is in contact
    with leading former regime officials, including designated former regime officials Muhammad
    Yunis Ahmad, Izzat Ibrahim al-Duri and Taha Yasin Ramadan.

    Ahmed Watban Ibrahim Hasan Al-Tikriti
    AKAs:
    AL-TIKRITI, Ahmad Watban Ibrahim Hasan
    MUHAWDAR, `Imad `Udi
    DOB:
    1975
    ALT DOB:
    1979
    POB:
    Baghdad, Iraq
    Nationality:
    Iraqi
    Address:
    Al-Ra'is building Mina Street, Tartus City, Tartus Province Syria
    Address:
    Jirmanah neighborhood, Damascus, Syria
    Address:
    Al-Hadda Hotel, Sana'a, Yemen

    Syria-based Ahmed Watban Ibrahim Hasan Al-Tikriti is the son of Watban Ibrahim Hasan Al-
    Tikriti – the former Iraqi Minister of the Interior – who was designated pursuant to E.O. 13315 in
    June 2003. Ahmed Watban has provided financial and operational support to the Iraq
    insurgency. He also has transported money into Iraq for insurgents and facilitates foreign
    fighter movement into Iraq. The Central Criminal Court of Iraq has issued a warrant for Ahmed
    Watban's arrest.

    Ahmad Muhammad Yunis Al-Ahmad
    AKAs:
    AL-BADANI, Ahmad Muhammad Mahmud 'Abdallah

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    AL-BARRANI, Ahmad Muhammad Al-Abdullah
    Nationality:
    Iraqi
    DOB:
    19 September 1978
    POB:
    Al-Anbar, Iraq
    Passport number:
    347417, expiration 19 February 2011
    Passport number:
    H0347417, expiration 19 February 2011
    Date of Issue:
    20 February 2003
    Place of Issue:
    Al-Anbar, Iraq
    Address:
    Al-Mazzah Al-Jabal District
    6 Subdistrict, 3 area Al-Iskan complex 40/2, Fifth floor
    Damascus, Syria

    Syria-based Ahmad Muhammad Yunis Al-Ahmad is a son of Muhammad Yunis Ahmad – a
    financial facilitator and operational leader of the New Regional Command of the reconstituted
    Ba'th Party – who was designated pursuant to E.O. 13315 on June 17, 2005. Al-Ahmad helped
    transport funds belonging to his father, Muhammad Yunis Ahmad and Saddam Hussein from
    Iraq to Syria before the fall of the Hussein regime. The Central Criminal Court of Iraq issued a
    warrant for Al-Ahmad's arrest on January 9, 2005.

    Sa'ad Muhammad Yunis Al-Ahmad
    DOB:
    1 Jan 1981
    POB:
    Baghdad
    Nationality:
    Iraqi
    Iraq National ID:
    159014
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    Address:
    Damascus, Syria




    Syria-based Sa'ad Muhammad Yunis Al-Ahmad is another son of Muhammad Yunis Ahmad – a
    financial facilitator and operational leader of the New Regional Command of the reconstituted
    Ba'th Party – who was designated pursuant to E.O. 13315 on June 17, 2005. Sa'ad regularly
    accompanies his father and is suspected of having acted as a money courier for him to finance
    anti-coalition activities.


    Thabet Al-Duri
    DOB:
    1943 or 1944
    POB:
    Dur, Iraq
    Address:
    Karkh District, Baghdad, Iraq
    Address:
    Rukan al-Din, Syria

    Thabet Al-Duri, who operates out of Syria and Iraq, served as a former regime Ba'th Party
    branch secretary and a general manager for the Party's regional security office. He was also the
    governor of Basra under the former Iraqi regime.

    Hatem Hamdan Al-Azawi
    DOB:
    circa 1937
    Address:
    Diyali, Al-Khalis Sector, Iraq
    Address:
    Deli Abbas, Iraq

    Hatam Hamdan Al-Azawi, formerly a close associate of Saddam Hussein, served as the head of
    Saddam's presidential administration. Al-Azawi obtained a fraudulent diplomatic passport and


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    fled to Syria after the fall of the Iraqi regime. Al-Azawi worked to reconstitute the Iraqi Ba'th
    Party.




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                       FN 57
Press Release, U.S. Department of the Treasury,
    “Treasury Designates Members of Abu
Ghadiyah‟s Network Facilitates flow of terrorists,
 weapons, and money from Syria to al Qaida in
             Iraq”(Feb. 28, 2008)
9/18/23, 6:17 PM    Case  1:20-cv-03859-JEB
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    U.S. DEPARTMENT OF THE TREASURY

    Treasury Designates Members of Abu Ghadiyah's Network
    Facilitates flow of terrorists, weapons, and money from Syria to
    al Qaida in Iraq

    February 28, 2008


    (Archived Content)



    hp-845

    Washington − The U.S. Department of the Treasury today designated four individuals
    facilitating and controlling the flow of money, weapons, terrorists, and other resources through
    Syria to al Qaida in Iraq (AQI), including to AQI commanders.

    Since the fall of Saddam Hussein's regime, Syria has become a transit station for al Qaida
    foreign terrorists on their way to Iraq, said Stuart Levey, Under Secretary for Terrorism and
    Financial Intelligence. Abu Ghadiyah and his network go to great lengths to facilitate the flow
    through Syria of money, weapons, and terrorists intent on killing U.S. and Coalition forces and
    innocent Iraqis.

    Today's action was taken pursuant to Executive Order 13224, which targets terrorists and those
    providing financial or material support to terrorism. Any assets these designees have under U.S.
    jurisdiction will be frozen, and U.S. persons are prohibited from engaging in business or
    transactions with the designees.

    Identifier Information

    BADRAN TURKI HISHAN AL MAZIDIH

    AKAs: Al-Mazidih, Badran Turki al-Hishan
    Abu Ghadiyah
    Al Mezidi, Badran Turki Hishan
    Hishan, Badran Turki
    Hisham, Badran al-Turki
    Al-Turki, Badran
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    Al-Sha'bani, Badran Turki Hisham al-Mazidih
    Abu 'Abdallah
    Abu Abdullah
    Shalash, Badran Turki Hayshan
    Abu 'Azzam
    DOB: 1977
    Alt. DOB: 1978 or 1979
    POB: Mosul, Iraq
    Residence: Zabadani, Syria

    Syria-based Badran Turki Hishan Al Mazidih, also known as Abu Ghadiyah, runs the AQI
    facilitation network, which controls the flow of money, weapons, terrorists, and other resources
    through Syria into Iraq. Former AQI leader Abu Mus'ab al-Zarqawi appointed Badran as AQI's
    Syrian commander for logistics in 2004. After Zarqawi's death, Badran began working for the
    new AQI leader, Abu Ayyub Al-Masri. As of late-September 2006, Badran took orders directly
    from Masri, or through a deputy.

    Badran obtained false passports for foreign terrorists, provided passports, weapons, guides,
    safe houses, and allowances to foreign terrorists in Syria and those preparing to cross the
    border into Iraq. Badran received several hundred thousand dollars from his cousin Saddah --
    also designated today -- and used these funds to support anti-U.S. military elements and the
    travel of AQI foreign fighters. Badran has also been using AQI funds for his personal use.

    As of the spring of 2007, Badran facilitated the movement of AQI operatives into Iraq via the
    Syrian border. Badran also directed another Syria-based AQI facilitator to provide safe haven
    and supplies to foreign fighters. This AQI facilitator, working directly for Badran, facilitated the
    movement of foreign fighters primarily from Gulf countries, through Syria into Iraq.

    GHAZY FEZZA HISHAN AL MAZIDIH

    AKAs: Hishan, Ghazy Fezzaa
    Abu Faysal
    Shlash, Mushari Abd Aziz Saleh
    Abu Ghazzy
    DOB: 1974 or 1975
    Residence: Zabadani, Syria



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    Ghazy Fezza Hishan Al Mazidih is Badran's cousin and a member of his AQI facilitation network.
    As of March 2006, Ghazy was Badran's right-hand man. As second-in command, Ghazy worked
    directly with Badran, managed network operations, and acted as the commander for Badran's
    AQI network when Badran traveled. As of late-September 2006, Ghazy and Badran were
    planning to facilitate an AQI attack against Coalition forces and Iraqi police in Western Iraq.
    Ghazy and Badran planned to use rockets to attack multiple Coalition forces outposts and Iraqi
    police stations, in an attempt to facilitate an AQI takeover in Western Iraq.

    AKRAM TURKI HISHAN AL MAZIDIH

    AKAs:
    Al-Mazidih, Akram Turki Hishan
    Abu Jarrah
    Abu Akram
    Al-Hishan, Akram Turki
    DOB: 1974 or 1975
    Alt. DOB: 1979
    Residence: Zabadani, Syria

    Akram Turki Hishan Al Mazidih is Badran's brother and a member of his AQI facilitation network.
    As of early 2006, AQI leaders Akram and Badran directed AQI operations near Al Qa'im, Iraq. In
    late-November 2006, Akram smuggled weapons from Syria for use in Iraq. As of late-September
    2005, Akram acted on behalf of AQI by ordering the execution of AQI's enemies. Akram also
    ordered the execution of all persons found to be working with the Iraqi Government or U.S.
    Forces, and at least one of Akram's orders resulted in the execution of two Iraqis in Al Qa'im,
    Iraq.

    SADDAH JAYLUT AL-MARSUMI

    AKAs: Al-Marsumi, Sa'da Jalut Hassam
    Jalout, Saddaa
    Jaloud, Sa'daa
    DOB: 1955 or 1956
    Citizenship: Syrian
    Residence: Al Shajlah Village, Syria
    Alt. Residence: As Susah Village, Syria
    Alt. Residence: Baghuz, Syria

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    As of the spring of 2006, Saddah Jaylut Al-Marsumi, Badran's cousin, was an AQI financier who
    worked with Badran and other AQI facilitators to transport several unidentified Syrian suicide
    bombers into Iraq on behalf of AQI. Saddah also facilitated the financing and smuggling of AQI
    foreign fighters from Syria into Iraq. As of early 2006, Saddah transferred several hundred
    thousand dollars to a hawala in Iraq, where Badran received the funds and used them to
    support anti-U.S. military elements and the travel of AQI foreign fighters.

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